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      1                 UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
      2                       EASTERN DIVISION
      3    IN RE: NATIONAL             )   MDL No. 2804
           PRESCRIPTION OPIATE         )
      4    LITIGATION                  )   Case No. 1:17-MD-2804
                                       )
      5                                )   Hon. Dan A. Polster
           THIS DOCUMENT RELATES TO    )
      6    ALL CASES                   )
                                       )
      7
      8
      9                              __ __ __
     10                     Thursday, January 10, 2019
                                     __ __ __
     11
                   HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
     12                     CONFIDENTIALITY REVIEW
                                  __ __ __
     13
     14
     15
     16           Videotaped Deposition of GARY HILLIARD,
            held at Winstead PC, 2728 N. Harwood St.,
     17     Dallas, Texas, commencing at 9:06 a.m. on the
            above date, before Susan Perry Miller,
     18     Registered Diplomate Reporter, Certified
            Realtime Reporter, Certified Realtime
     19     Captioner, and Notary Public.
     20
     21
                                        __ __ __
     22
                             GOLKOW LITIGATION SERVICES
     23                   877.370.3377 ph | fax 917.591.5672
                                  deps@golkow.com
     24
     25

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      2
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     18           Pharmaceutical, Inc. and Par
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      1           A P P E A R A N C E S, Continued:
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      1           A P P E A R A N C E S, Continued:
      2
      3

                  TRIAL TECHNICIAN:
      4

                        RICHARD RIENSTRA,
      5                 Complete Litigation Support
      6
      7           VIDEOGRAPHER:
      8                 BRIAN BOBBITT,
                        Golkow Litigation Services
      9
     10

                  ALSO PRESENT:
     11

                        RICHARD WOODS, Paralegal, Levin
     12                 Papantonio
     13                                 --oOo--
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     22      McKesson-             E-mail Chain ending with               248
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      7
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      1            (Thursday, January 10, 2019, 9:06 a.m.)
      2                       THE VIDEOGRAPHER:        All right,
      3              stand by.     We are now on the record.
      4              My name is Brian Bobbitt.          I'm a
      5              videographer for Golkow Litigation
      6              Services.     Today's date is
      7              January 10th, 2019, and the time is
      8              9:06 a.m.
      9                       This video deposition is being
     10              held in Dallas, Texas, in the National
     11              Prescription Opiate Litigation, MDL
     12              No. 2804.     The deponent is Gary
     13              Hilliard.
     14                       Would counsel like to identify
     15              themselves for the record.
     16                       MR. BOGLE:      Brandon Bogle
     17              representing the plaintiffs.            He's my
     18              paralegal.
     19                       MS. HELLER-TOIG:        Elly
     20              Heller-Toig from Marcus & Shapira for
     21              HBC Service Company.
     22                       MR. PERRY:      Stan Perry for
     23              AmerisourceBergen.
     24                       MR. BRODSKY:      Richard Brodsky
     25              from Jones Day on behalf of Walmart.

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      1                       MS. LUND:      Juli Ann Lund from
      2              Williams & Connolly on behalf of
      3              Cardinal Health.
      4                       MR. KELLY:      Kevin Kelly of
      5              Covington & Burling on behalf of
      6              McKesson.
      7                       MR. EPPICH:      Chris Eppich of
      8              Covington & Burling on behalf of
      9              McKesson and the witness.
     10                       THE REPORTER:       Thank you.
     11              Would those on the phone announce,
     12              please?
     13                       MR. LOMBARDO:       Good morning.
     14              John Lombardo with Arnold & Porter for
     15              the Endo and Par defendants.
     16                       MS. LUCERO:      Good morning.
     17              Laura Lucero from Collinson Daehnke on
     18              behalf of C&R Pharmacy.
     19                       MS. MUSKETT:      Good morning.
     20              Eileen Muskett from Fox Rothschild on
     21              behalf of Validus.
     22                       THE REPORTER:       Anyone else?
     23                       (No response.)
     24                       (Witness sworn by the
     25              reporter.)

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      1                        P R O C E E D I N G S
      2                              GARY HILLIARD,
      3      having taken an oath to tell the truth, the
      4      whole truth, and nothing but the truth,
      5      testified as follows:
      6                               EXAMINATION
      7      QUESTIONS BY MR. BOGLE:
      8              Q.       Good morning.
      9              A.       Good morning.
     10              Q.       Can I get your full name,
     11      please?
     12              A.       Gary Lawrence Hilliard.
     13              Q.       And, Mr. Hilliard, my name is
     14      Brandon Bogle.       I'm going to be asking you
     15      some questions today.         Before we get into the
     16      substance, though, have you ever had your
     17      deposition taken before?
     18              A.       I have not.
     19              Q.       Okay.    Just a few ground rules
     20      to hopefully make things go as smoothly as
     21      possible for us.        I'm going to ask questions
     22      and I'd ask that you wait till I finish my
     23      question before you provide an answer, number
     24      one, to make sure you understand my question;
     25      number two, to allow the court reporter to

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      1      more easily transcribe things.
      2                       Does that make sense?
      3              A.       Yes, it does.
      4              Q.       Okay.    And if at any point in
      5      time you want to take a break, just let me or
      6      your counsel know.        I'm happy to do that.
      7      It's not an endurance contest.
      8                       The other thing is if I ask a
      9      question that you don't hear or don't
     10      understand, please ask me to repeat it or
     11      rephrase it and I will do so.            Otherwise, I
     12      assume if you're answering my question that
     13      you understood it.        Is that fair?
     14              A.       Yes.
     15              Q.       Okay.    Where are you currently
     16      employed, sir?
     17              A.       Tech Data Corporation.
     18              Q.       Where is that located?
     19              A.       The corporate office is in
     20      Clearwater, Florida.
     21              Q.       Okay.    Are you out of
     22      Clearwater or somewhere else?
     23              A.       I'm out of a Fort Worth
     24      facility.
     25              Q.       Give me just a general sketch

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      1      of what you do at Tech Data.           What is your
      2      job?
      3              A.       I'm a dangerous goods safety
      4      advisor, so my role is to manage hazardous
      5      materials for our company in the United
      6      States, Canada and Mexico.
      7              Q.       Okay.    Does Tech Data in any
      8      way, shape or form sell, distribute or deal
      9      in opioids?
     10              A.       No.    It's all electronics.
     11              Q.       All electronics, okay.
     12                       When did you start working for
     13      Tech Data?
     14              A.       In September 2016.
     15              Q.       Okay.    And prior to working at
     16      Tech Data, were you employed at McKesson?
     17              A.       I was.
     18              Q.       Okay.    Can you give me the span
     19      of time that you worked for McKesson?
     20              A.       From 1997 till 2016.
     21              Q.       Okay.    And why did you leave
     22      McKesson?
     23              A.       I was part of a workforce
     24      reduction.
     25              Q.       Okay.    Were you given the

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      1      opportunity to transfer to another department
      2      or just outright told that they were
      3      eliminating your position and there was no
      4      other position for you?
      5              A.       Outright elimination.
      6              Q.       Okay.    Now, the time from 1997
      7      to 2016 while you were at McKesson, during
      8      that entire span, were you a director of
      9      regulatory affairs?
     10              A.       I started as a manager of
     11      regulatory affairs.
     12              Q.       Okay.    So tell me what time
     13      period you were the manager.
     14              A.       It was approximately a year, so
     15      approximately '97-98.
     16              Q.       Okay.
     17              A.       I don't remember the exact time
     18      frame.
     19              Q.       That approximation is good
     20      enough.      So approximately 1998 you take over
     21      as director of regulatory affairs.             Do you
     22      hold that position until 2016 when you leave?
     23              A.       That's correct.
     24              Q.       Okay.    Do you know what month
     25      in 2016 you left?

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      1              A.       July, I believe.
      2              Q.       Okay.    So give me a sense,
      3      while you were at McKesson working at
      4      director of regulatory affairs, what your
      5      general job responsibilities were.
      6              A.       My role changed over the years,
      7      but as I started, I had responsibility for
      8      DEA compliance for our pharma distribution
      9      centers within the U.S.          I was over 30
     10      facilities, I don't recall exactly, but...
     11      so that entailed things such as the
     12      management of the SOP, the audit, ARCOS, loss
     13      and theft, any issue resolution; I would
     14      assist with fiscal DEA audits, also with
     15      corrective actions if there were any
     16      corrective actions with that; the suspicious
     17      order program that was in place at the time.
     18              Q.       Okay.
     19              A.       And then additionally I also
     20      had responsibility for HAZMAT, hazardous
     21      materials.      I also had responsibility for EPA
     22      environmental issues, waste disposal.              I also
     23      had responsibility for DEA registrations,
     24      state licensure.        I was also active with the
     25      industry association with NWDA on working

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      1      committees for both federal and state.
      2              Q.       Is that the -- I'm sorry, go
      3      ahead.    Keep going.
      4              A.       And did some work on the OSHA
      5      side as well for safety.
      6              Q.       Okay.
      7              A.       Also, I had responsibility for
      8      FDA actions for -- as it related to our
      9      operations.
     10              Q.       Okay.    I've got a few follow-up
     11      questions for you.        Are you done?       I want to
     12      make sure you're done.
     13              A.       That's fine.
     14              Q.       Good.    Okay.    A few follow-up
     15      questions for you on a couple of these points
     16      you gave me.      You said you were responsible
     17      for the SOP.      What SOP are you referring to?
     18              A.       Section 55 is what we referred
     19      it to when we started.          It was already in
     20      place when I arrived at McKesson, and follow
     21      up on that until a migration took place,
     22      changes took place in the 2006 time frame.
     23              Q.       Okay.    Because you guys went
     24      from Section 55 to approximately 2007, you go
     25      to the LDMP, the Lifestyle Drug Management

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      1      Program?     True?
      2              A.       True.
      3              Q.       Okay.    And then in
      4      approximately 2008, you go to the Controlled
      5      Substances Monitoring Program, otherwise
      6      known as the CSMP.        True?
      7              A.       True.
      8              Q.       Okay.    So did you have
      9      responsibility for -- let's do one by one.
     10      So the Section 55 component, you had
     11      responsibility for Section 55 in what
     12      respect?
     13              A.       Updates and adherence for our
     14      operations to the policy.
     15              Q.       For what period of time did you
     16      have that responsibility?
     17              A.       From '97 till 2006.
     18              Q.       Okay.    Let's talk about the
     19      LDMP.    Did you have any responsibility
     20      related to the LDMP?
     21              A.       I helped create that LDMP
     22      process.
     23              Q.       Okay.    So after it was created,
     24      what was your responsibility in relationship
     25      to that program?

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      1              A.       I worked with our team to
      2      ensure compliance with that program and to
      3      develop it.
      4              Q.       Okay.    What about the CSMP?
      5      What involvement did you have with the CSMP?
      6              A.       I also helped write that SOP as
      7      well.
      8              Q.       What sort of experience did you
      9      have with drafting SOPs prior to drafting the
     10      LDMP, for example?
     11              A.       I had drafted SOPs in the past
     12      with my previous employers as well, so no
     13      formal training, if you will, for SOPs.               But
     14      just -- when something needed to be revised
     15      or something wasn't in place and needed to be
     16      created, then I would work on the SOPs for
     17      that.
     18              Q.       Okay.    Prior to drafting the
     19      LDMP, had you had any experience drafting any
     20      SOPs that related to suspicious order
     21      monitoring for controlled substances?
     22              A.       Just the experience from what
     23      we gained from the original Section 55, and
     24      then the changes that were necessary as we
     25      developed that program.

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      1              Q.       Okay.    And where did you work
      2      before you came to McKesson?
      3              A.       FoxMeyer Drug Company.
      4              Q.       What did you do for them just
      5      generally?
      6              A.       Same thing, manager of
      7      regulatory affairs.
      8              Q.       How long were you with them?
      9              A.       Approximately two years.
     10              Q.       Immediately before McKesson?
     11              A.       Immediately before.         McKesson
     12      acquired FoxMeyer so it was part of the
     13      acquisition.
     14              Q.       Gotcha.
     15                       Did you have any sort of
     16      regulatory job prior to working at FoxMeyer?
     17              A.       I did.     I worked regulatory for
     18      a reverse distributor of pharmaceuticals.
     19              Q.       Can you say that again?          I'm
     20      sorry.
     21              A.       A reverse distributor.
     22              Q.       Reverse distributor.
     23              A.       RDS was the name, Reverse
     24      Distribution Services.
     25              Q.       How long did you work for them?

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      1              A.       Two years.
      2              Q.       Immediately preceding FoxMeyer?
      3              A.       Correct.
      4              Q.       Any other regulatory position
      5      that you held prior to joining McKesson?
      6              A.       I worked in environmental, and
      7      so I gained an environmental background
      8      through waste management, Chemical Waste
      9      Management to be more specific, so we were
     10      trained in EPA requirements and Department of
     11      Transportation, FAA requirements as well.
     12              Q.       What company are you referring
     13      to there?
     14              A.       Chemical Waste Management.
     15              Q.       Chemical Waste Management.
     16                       Okay.    Any others prior to
     17      McKesson that are regulatory-related?
     18              A.       No.
     19              Q.       All right.      So a couple of
     20      other follow-ups.        You mentioned, while at
     21      McKesson, having responsibility related to
     22      audit processes.        In what respect were you
     23      responsible for audit processes at McKesson?
     24              A.       I would update the audit as
     25      necessary and then I'd go out to our

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      1      facilities and conduct audits.
      2              Q.       Okay.    You're talking about a
      3      specific SOP that you would update for
      4      audits, or what are you referring to by
      5      "update the audit"?
      6              A.       There was an audit that was
      7      already written and it correlated to
      8      Section 55, and I audited against that.
      9              Q.       Okay.    How long did you have
     10      responsibility for audits?
     11              A.       From '97 till approximately
     12      2014.
     13              Q.       Okay.    Just from prior
     14      depositions, I understand that Tracy Jonas
     15      also had some responsibility for audits.               How
     16      did your responsibility for audits compare to
     17      his?
     18              A.       So when the audit was changed
     19      to -- we referred to it as a STARs audit, and
     20      so we co-wrote good portions of those audits,
     21      and then he ultimately took over facilitation
     22      of the audit program.
     23              Q.       Okay.    And that would have been
     24      in 2014, you're saying?
     25              A.       I'm not sure when -- the STARs

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      1      audit took place probably before 2014, but
      2      I'm not exactly sure of the date.
      3              Q.       Okay.    All right.      You
      4      mentioned responsibilities related to
      5      suspicious order -- I think "purchasing" was
      6      the term you used.        Maybe you used a
      7      different term, but something related to
      8      suspicious order monitoring or purchasing.
      9              A.       Monitoring.
     10              Q.       What was your responsibility
     11      there?
     12              A.       To -- adherence to our SOP.
     13              Q.       Okay.    Going back to
     14      Section 55, the LDMP and the CSMP?
     15              A.       Correct.
     16              Q.       During what time period did you
     17      have those responsibilities?
     18              A.       1997 until -- again, I'm not
     19      sure when the STARs ended.           It was handed off
     20      to Dave Gustin.       I don't know, 2013 -- 2014,
     21      maybe.
     22              Q.       An approximation is fine.
     23              A.       I'm not sure.
     24              Q.       I'm not going to hold you to an
     25      exact date.      I just want to get a sense of

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      1      what the scope is here.
      2                       You also said you handled DEA
      3      registrations and state licensure?
      4              A.       Correct.
      5              Q.       For what time period did you
      6      have those responsibilities?
      7              A.       '97 till 2016.
      8              Q.       Okay.    You mentioned being
      9      actively involved in the -- I think it was
     10      NWMA?    Is that right?
     11              A.       HDMA.
     12              Q.       Right.     I think you mentioned
     13      the predecessor term.
     14              A.       NWDA, National Wholesale Drug
     15      Association.
     16              Q.       Which then became the HDMA,
     17      right?
     18              A.       And now is NDA, I believe, yes.
     19              Q.       I think maybe HDA.
     20              A.       HDA.
     21              Q.       I think so.      It doesn't matter.
     22              A.       Okay.
     23              Q.       Okay.    What sort of committees
     24      were you on at NWDA?
     25              A.       I was on the federal committees

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      1      in reference to DEA, also state committee,
      2      pharmaceutical waste management committee,
      3      transportation committee.
      4              Q.       Okay.    Let's talk about the
      5      federal DEA committee.          What did you do --
      6      what was your involvement with that
      7      committee?      What did you do?
      8              A.       We would meet typically
      9      annually and with our counterparts from other
     10      wholesalers and sometimes manufacturers, and
     11      we would discuss issues that were happening,
     12      proposed regulations that were coming up.
     13      That's primarily it.
     14              Q.       Okay.    And so this NWDA was a
     15      trade association for pharmaceutical
     16      distributors primarily, correct?
     17              A.       That's correct.
     18              Q.       Okay.    And so as part of that
     19      association, as a member of that association,
     20      you would have interactions with other
     21      employees of other pharmaceutical
     22      distributors.       Is that fair?
     23              A.       That's correct.
     24                       MR. EPPICH:      Object to the
     25              form.

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      1                       Give me a minute to object, if
      2              you don't mind.
      3      QUESTIONS BY MR. BOGLE:
      4              Q.       How frequently would you attend
      5      meetings for NWDA, approximately?
      6              A.       Approximately twice a year.
      7              Q.       Okay.    Would those meetings
      8      generally be attended by employees of other
      9      pharmaceutical distributors as well?
     10              A.       That's correct.
     11              Q.       Okay.    You also mentioned
     12      having responsibility for ARCOS.             Can you
     13      tell me what you did related to ARCOS?
     14              A.       I would train our employees at
     15      our facilities when they needed training.                I
     16      would assist in problems that they may have
     17      understanding what types of code assignments
     18      would be associated with a type of
     19      transaction.      If they had error reports that
     20      they needed assistance with, and any
     21      communications from ARCOS corporate, then I
     22      would typically work with them on that.
     23              Q.       Okay.    And when it came to the
     24      ARCOS training you're referring to, are you
     25      talking about training people at the

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      1      distribution centers?
      2              A.       That's correct.
      3              Q.       All right.      So from 1997 to
      4      2007, would you have had responsibility for
      5      regulatory compliance for all of McKesson's
      6      distribution centers?
      7              A.       For the pharmaceutical
      8      division.
      9              Q.       Okay.    Well, let me rephrase it
     10      because I think that's a fair clarification.
     11                       So from 1997 to 2007, would you
     12      have had responsibility for compliance with
     13      the Controlled Substances Act as it pertained
     14      to all of McKesson's distribution centers?
     15              A.       That would be correct.
     16              Q.       Okay.    And, now, in 2008, as I
     17      understand it, there were some additional
     18      people added to McKesson's regulatory team.
     19      Is that true?
     20              A.       That's correct.
     21              Q.       Okay.    And so when that change
     22      occurred and additional people were added, as
     23      I understand it, you would then have not been
     24      responsible for all of those distribution
     25      centers when it pertains to Controlled

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      1      Substance Act compliance.          True?
      2                       MR. EPPICH:      Object to the
      3              form.
      4              A.       There were regional directors
      5      and I did not have a region.           So the regional
      6      directors specifically worked with the new
      7      programs that were being developed, whereas I
      8      worked on other operational aspects.
      9      QUESTIONS BY MR. BOGLE:
     10              Q.       Okay.    From the information
     11      that I've looked at from the time period of
     12      1997 to 2007, when it came to Controlled
     13      Substances Act compliance at McKesson, you
     14      guys had a three-person team which consisted
     15      of Donald Walker, yourself, and Bruce
     16      Russell.     Is that true?
     17              A.       When I started, there was -- I
     18      reported to Dan White, who was a VP of
     19      regulatory, and I reported to -- I'm sorry,
     20      not reported.       I also had a colleague that
     21      was a director of regulatory affairs, Rolly
     22      Blythe.
     23              Q.       Okay.    When did Mr. White leave
     24      the company, roughly?
     25              A.       He transitioned to a different

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      1      role, and I do not recall the date.
      2              Q.       The other name was Rolly White,
      3      I believe you gave me?
      4              A.       Blythe.
      5              Q.       Oh, Blythe, I'm sorry.          When
      6      did that individual cease working in
      7      regulatory affairs, roughly?
      8              A.       He retired, and again, I don't
      9      recall the exact time frame, but it was
     10      probably a few years, three, four years, in.
     11              Q.       To your tenure?
     12              A.       Correct.
     13              Q.       What did Rolly Blythe, what did
     14      that person generally do during that time
     15      period that they were there?
     16              A.       The same role, so he was my
     17      predecessor, and he managed the DEA
     18      compliance.
     19              Q.       Okay.    And Mr. White, what was
     20      his role?
     21              A.       He oversaw the regulatory
     22      department, which included DEA compliance.
     23              Q.       So would he have been --
     24      Mr. White been in that role during the same
     25      time that Donald Walker was working in

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      1      regulatory affairs?
      2              A.       No.
      3              Q.       No.    So did Mr. Walker sort of
      4      take his role over?
      5              A.       Mr. Walker took over SVP of
      6      operations, and then I started reporting up
      7      through him.
      8              Q.       Okay.
      9              A.       Again, I don't remember the
     10      exact time frame.
     11              Q.       That's fine.
     12                       Do you agree that there is an
     13      ongoing opioid epidemic in this country?
     14              A.       I don't know about opioid
     15      epi- -- sorry, epidemic, in those term- -- in
     16      that terminology.
     17              Q.       Okay.    Do you believe there's
     18      any sort of problem in this country as it
     19      relates to opioids?
     20                       MR. EPPICH:      Object to the
     21              form.
     22                       MR. PERRY:      Object to form.
     23              A.       I don't know.
     24      QUESTIONS BY MR. BOGLE:
     25              Q.       You don't know, okay.

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      1                       Did you ever receive any
      2      training, formal or informal, about a
      3      potential epidemic in this country while at
      4      McKesson?
      5                       MR. EPPICH:      Object to the
      6              form.
      7      QUESTIONS BY MR. BOGLE:
      8              Q.       Related to opioids?
      9                       MR. EPPICH:      Object to the
     10              form.
     11              A.       I don't know.
     12      QUESTIONS BY MR. BOGLE:
     13              Q.       Did you ever have any
     14      discussions with any of your colleagues at
     15      McKesson about a potential opioid epidemic in
     16      this country?
     17              A.       Not that I recall in that
     18      frame -- of that terminology.
     19              Q.       Okay.    Any other sort of
     20      terminology that you would utilize that you
     21      did have such a discussion?
     22                       MR. EPPICH:      Object to the
     23              form.




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     22                       MR. EPPICH:      Object to the
     23              form.
     24      QUESTIONS BY MR. BOGLE:
     25              Q.       Okay.    Are you familiar with

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      1      the term "diversion"?
      2              A.       I am.
      3              Q.       What do you understand that
      4      term to mean?
      5                       MR. EPPICH:      Object to the
      6              form.    Calls for a legal conclusion.
      7              A.       Controlled substance
      8      pharmaceuticals being utilized outside the
      9      course of legal requirements under the CSA.
     10      QUESTIONS BY MR. BOGLE:




     17      QUESTIONS BY MR. BOGLE:
     18              Q.       All right.      I'm going to hand
     19      you what I'm marking as Exhibit 1.1651, which
     20      is also Exhibit 1 to your deposition, and
     21      that's MCKMDL00498169.
     22                       (McKesson-Hilliard Exhibit 1
     23              was marked for identification.)
     24      QUESTIONS BY MR. BOGLE:
     25              Q.       There you go, sir.

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      1                       Okay, Mr. Hilliard.         What I've
      2      handed you as Exhibit 1 you see is an e-mail
      3      on the first page and then sort of a
      4      PowerPoint slide deck behind it.
      5                       Do you see that?
      6              A.       I see that.
      7              Q.       Okay.    And starting with the
      8      e-mail on the first page, you see that's an
      9      e-mail from Donald Walker dated May 2, 2012,
     10      to several individuals, including yourself,
     11      right?
     12              A.       I see that.




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     20                       I'm going to hand you what I'm
     21      marking as Exhibit 2 to your deposition,
     22      which is Exhibit 1.264.          This is a public
     23      document so no Bates numbers.
     24                       (McKesson-Hilliard Exhibit 2
     25              was marked for identification.)

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      1      QUESTIONS BY MR. BOGLE:
      2              Q.       Okay.    You see here this is a
      3      document from the U.S. House of
      4      Representatives Committee on Energy and
      5      Commerce from May 4, 2018.
      6                       Do you see that?
      7              A.       I see that.
      8              Q.       Okay.    And it's -- the
      9      regarding line says:         Hearing entitled
     10      "Combatting the Opioid Epidemic:             Examining
     11      Concerns About Distribution and Diversion."
     12                       Do you see that there?
     13              A.       I do see that.
     14              Q.       Okay.    Have you followed the
     15      outcomes of any of these congressional
     16      hearings on the opioid epidemic?
     17              A.       I have not.
     18              Q.       You said you were aware of
     19      them, right?
     20              A.       I am aware of them but I have
     21      not followed them.        I've been out of
     22      pharmaceuticals for a while now.
     23              Q.       If you look at the second page
     24      of this document, underneath the chart it
     25      says:    The U.S. continues to experience an

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      1      opioid epidemic, which has worsened over the
      2      last two decades.        Opioid-involved overdose
      3      deaths are the leading cause of injury death
      4      in the U.S. and take the lives of 115
      5      Americans per day.
      6                       Is that a statistic you've seen
      7      before?
      8                       MR. EPPICH:      Objection,
      9              foundation.
     10              A.       It is not.
     11      QUESTIONS BY MR. BOGLE:
     12              Q.       "According to a recent report
     13      issued by the Centers for Disease Control and
     14      Prevention (CDC), prescription or illicit
     15      opioids were involved in nearly two-thirds of
     16      all drug overdose deaths in the U.S. during
     17      2016 - a 27.7 percent increase from 2015.                In
     18      total, more than 351,000 people have died
     19      since 1999 due to an opioid-involved
     20      overdose."
     21                       And then it says:        The crisis
     22      has become so severe that the average life
     23      expectancy declined in 2016 from the previous
     24      year, largely because of opioid overdoses.
     25                       Do you see that?

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      1                       MR. EPPICH:      Objection,
      2              foundation.
      3              A.       I see it on the page.
      4      QUESTIONS BY MR. BOGLE:
      5              Q.       Okay.    And the information I
      6      read to you, those last three sentences
      7      there, any of that information you were aware
      8      of prior to today?
      9              A.       I was not.
     10              Q.       And so from our discussion at
     11      the beginning of the deposition, you worked
     12      at McKesson for, what, just shy of 20 years,
     13      right?
     14              A.       Correct.
     15              Q.       Okay.    And so during that time
     16      period, did you have the belief that
     17      protecting the health and safety of the
     18      public should be the most important
     19      consideration for a pharmaceutical
     20      distributor like McKesson?
     21                       MR. EPPICH:      Object to the
     22              form.
     23              A.       I don't know.
     24      QUESTIONS BY MR. BOGLE:
     25              Q.       Okay.    Did you ever consider

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      1      what sort of considerations should be most
      2      important for your job as you performed it?
      3                       MR. EPPICH:      Object to the
      4              form.
      5              A.       We complied with the CSA
      6      requirements.
      7      QUESTIONS BY MR. BOGLE:
      8              Q.       Okay.    Did you ever consider
      9      why those requirements existed?
     10                       MR. EPPICH:      Object to the
     11              form.
     12      QUESTIONS BY MR. BOGLE:
     13              Q.       What their purpose was?
     14                       MR. EPPICH:      Object to the
     15              form.
     16              A.       Protection of the supply chain
     17      under controlled substances.
     18      QUESTIONS BY MR. BOGLE:
     19              Q.       When you mean -- when you say
     20      "protection of the supply chain," what do you
     21      mean by that?
     22              A.       Controlled substances stay in
     23      legitimate markets.
     24              Q.       And why would it be important
     25      for controlled substances to stay in

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      1      legitimate markets --
      2                       MR. EPPICH:      Object to the
      3              form.
      4      QUESTIONS BY MR. BOGLE:
      5              Q.       -- from your understanding?
      6                       MR. EPPICH:      Object to the
      7              form.    Foundation.
      8              A.       It's a requirement of the CSA.
      9      QUESTIONS BY MR. BOGLE:
     10              Q.       Okay.    Anything beyond that?
     11                       MR. EPPICH:      Same objections.
     12              A.       I don't know.
     13      QUESTIONS BY MR. BOGLE:
     14              Q.       Okay.    While you were with
     15      McKesson, the company was a distributor of
     16      controlled substances, right?
     17              A.       That's correct.
     18              Q.       Okay.    And those controlled
     19      substances included opioid products, right?
     20              A.       That's correct.
     21              Q.       Okay.    And opioid products are
     22      generally in the class of drugs known as
     23      narcotics, right?
     24                       MR. EPPICH:      Object to the
     25              form; foundation.

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      1              A.       Some of them can be.
      2      QUESTIONS BY MR. BOGLE:
      3              Q.       Okay.    Are you aware of any
      4      opioids that are nonnarcotic?
      5                       MR. EPPICH:      Same objections.
      6              A.       Not that I recall.
      7      QUESTIONS BY MR. BOGLE:
      8              Q.       We talked about this a little
      9      bit at the beginning of the deposition, but
     10      in your role as manager and then director of
     11      regulatory affairs, you would have had
     12      responsibility for having understanding of
     13      the Controlled Substances Act, right?
     14              A.       Correct.
     15              Q.       And the Controlled Substances
     16      Act itself, you understand, is designed to
     17      prevent the diversion of controlled
     18      substances like opioids, right?
     19                       MR. EPPICH:      Object to the
     20              form.    Calls for a legal conclusion.
     21              A.       I don't know.
     22      QUESTIONS BY MR. BOGLE:
     23              Q.       Okay.    Do you have any sense as
     24      to what the purpose of the Controlled
     25      Substances Act was while you worked at

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      1      McKesson?
      2              A.       To prevent diversion.
      3              Q.       Okay.    And under the Controlled
      4      Substances Act while you were with McKesson,
      5      one of McKesson's responsibilities was to
      6      have effective controls against diversion,
      7      right?
      8              A.       That's correct.
      9                       MR. EPPICH:      Object to the
     10              form.    Calls for a legal conclusion.
     11      QUESTIONS BY MR. BOGLE:
     12              Q.       Another responsibility under
     13      the Controlled Substances Act while you were
     14      with McKesson would be to monitor for
     15      suspicious controlled substances orders,
     16      right?
     17                       MR. EPPICH:      Object to the
     18              form.    Calls for a legal conclusion.
     19              A.       We followed the processes and
     20      procedures that we had in place that were to
     21      comply with the CSA requirements.
     22      QUESTIONS BY MR. BOGLE:
     23              Q.       Okay.    But did you have an
     24      understanding while you were at McKesson that
     25      the company had a responsibility to monitor

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      1      for suspicious orders --
      2                       MR. EPPICH:      Same objections.
      3      QUESTIONS BY MR. BOGLE:
      4              Q.       -- for controlled substances?
      5              A.       We did monitor for controlled
      6      substance orders.
      7              Q.       Okay.    Did you know where that
      8      responsibility came from?
      9              A.       CSA requirements.
     10              Q.       Okay.    And while you were at
     11      McKesson, did you also understand that there
     12      was a responsibility to report suspicious
     13      orders when they were detected to the DEA?
     14                       MR. EPPICH:      Object to the
     15              form.    Calls for a legal conclusion.
     16              A.       The process was to report
     17      controlled substances orders according to the
     18      SOP.
     19      QUESTIONS BY MR. BOGLE:
     20              Q.       Okay.    And the SOP required
     21      that if suspicious orders were detected, they
     22      were to be reported to the DEA, correct?
     23                       MR. EPPICH:      Object to the
     24              form.
     25              A.       They were reported to the DEA.

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      1      QUESTIONS BY MR. BOGLE:
      2              Q.       Okay.    When you say "they,"
      3      we're talking about suspicious orders, right,
      4      for controlled substances?
      5              A.       That's correct.
      6              Q.       Okay.    And did you also
      7      understand while you were at McKesson that
      8      the company was to block any orders that it
      9      deemed suspicious?
     10                       MR. EPPICH:      Object to the
     11              form.
     12              A.       That was not a requirement of
     13      the CSA.
     14      QUESTIONS BY MR. BOGLE:
     15              Q.       Okay.    At any point in time
     16      while you were at the company?
     17                       MR. EPPICH:      Object to the
     18              form.    Calls for a legal conclusion.
     19              A.       We made changes, developed
     20      changes to our processes, and -- with the
     21      CSMP program, and so with the CSMP program
     22      that program did block.
     23      QUESTIONS BY MR. BOGLE:
     24              Q.       Okay.    Do you have an
     25      understanding as to why the CSMP blocked

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      1      suspicious orders?
      2                       MR. EPPICH:      Object to the
      3              form.
      4      QUESTIONS BY MR. BOGLE:
      5              Q.       Why that was a component of it?
      6                       MR. EPPICH:      Object to the
      7              form.
      8              A.       A guidance document provided by
      9      Rannazzisi.
     10      QUESTIONS BY MR. BOGLE:
     11              Q.       And do you recall when you
     12      first saw that guidance document?
     13                       MR. EPPICH:      Object to the
     14              form.
     15              A.       Approximately 2006.
     16      QUESTIONS BY MR. BOGLE:
     17              Q.       Okay.    And so prior to
     18      receiving that document in approximately
     19      2006, it was your personal belief that there
     20      was no responsibility for McKesson to block
     21      suspicious orders.        Is that true?
     22                       MR. EPPICH:      Object to the
     23              form.    Calls for a legal conclusion.
     24              A.       It was not a requirement of the
     25      CSA.

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      1      QUESTIONS BY MR. BOGLE:
      2              Q.       Okay.    And so if I'm
      3      understanding your testimony correctly, prior
      4      to the implementation of the CSMP in 2008, it
      5      was not McKesson's policy to block suspicious
      6      orders.      Is that true?
      7                       MR. EPPICH:      Object to the
      8              form.
      9              A.       Blocking of the orders was not
     10      a requirement under the CSA.
     11      QUESTIONS BY MR. BOGLE:
     12              Q.       Yeah.    I'm just asking whether
     13      it was a company policy to block suspicious
     14      orders prior to 2008.         I'm not asking about
     15      the CSA right now.
     16                       MR. EPPICH:      Object to the
     17              form.
     18              A.       We complied with requirements
     19      under the CSA.
     20      QUESTIONS BY MR. BOGLE:
     21              Q.       Yeah.    I'm just asking whether
     22      prior to 2008 when the CSMP was implemented,
     23      was it McKesson's policy to not block
     24      suspicious orders when they were detected?
     25                       MR. EPPICH:      Object to the

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      1              form.
      2              A.       We complied with the CSA
      3      requirements.
      4      QUESTIONS BY MR. BOGLE:
      5              Q.       Okay.    I guess I don't
      6      understand how that applies to my question.
      7      I'm just asking if you guys blocked
      8      suspicious orders prior to 2008.
      9                       MR. EPPICH:      Object to the
     10              form.
     11              A.       Blocking was not a requirement.
     12      QUESTIONS BY MR. BOGLE:
     13              Q.       So the answer is no, that that
     14      wasn't done --
     15                       MR. EPPICH:      Object to the
     16              form.
     17      QUESTIONS BY MR. BOGLE:
     18              Q.       -- prior to 2008?
     19              A.       We complied with the CSA
     20      requirements.
     21              Q.       Okay.    I got that that's your
     22      answer, but I'm trying to just get a specific
     23      answer to a specific question, which is to
     24      nail down in time when McKesson, to your
     25      understanding, started blocking suspicious

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      1      orders for controlled substances.             Can you
      2      tell me when that started occurring?
      3              A.       The CSMP, which was about 2008.
      4              Q.       Okay.    I'm going to hand you
      5      what I'm marking as Exhibit 3, which is
      6      1.1464, and that's MCKMDL00478906.
      7                       (McKesson-Hilliard Exhibit 3
      8              was marked for identification.)
      9      QUESTIONS BY MR. BOGLE:
     10              Q.       And you see this is a letter
     11      from the U.S. Department of Justice Drug
     12      Enforcement Administration dated
     13      September 27, 2006.
     14                       Do you see that?
     15              A.       I see that.
     16              Q.       Is this the guidance document
     17      from Mr. Rannazzisi that you were referring
     18      to a minute ago?
     19              A.       Yes, it is.
     20              Q.       Okay.    So you've seen this
     21      document before.        True?
     22              A.       Yes.
     23              Q.       Okay.    I want to look at a
     24      couple of components of this letter.              It
     25      says, in the first line:          This letter is

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      1      being sent to every commercial entity in the
      2      United States registered with the Drug
      3      Enforcement Administration (DEA) to
      4      distribute controlled substances.             The
      5      purpose of this letter is to reiterate the
      6      responsibilities of controlled substance
      7      distributors in view of the prescription drug
      8      abuse problem our nation currently faces.
      9                       Do you see that?
     10              A.       I see that.
     11              Q.       The term "reiterate" is used
     12      there in that sentence.          What do you
     13      understand the term "reiterate" to mean?
     14                       MR. EPPICH:      Object to the
     15              form.    Foundation.
     16              A.       This is written by
     17      Mr. Rannazzisi.       I don't know what he's
     18      referring to, reiterate.
     19      QUESTIONS BY MR. BOGLE:
     20              Q.       I'm just asking if you
     21      understand what the term "reiterate" means.
     22                       MR. EPPICH:      Asked and
     23              answered.
     24              A.       I don't know.
     25                                  --oOo--

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      1      QUESTIONS BY MR. BOGLE:
      2              Q.       You don't know what the term
      3      "reiterate" means in general use?
      4                       MR. EPPICH:      Object to the
      5              form.    Foundation.
      6              A.       I don't know.
      7      QUESTIONS BY MR. BOGLE:
      8              Q.       Okay.    Going down to the third
      9      paragraph in this letter, I'm looking at the
     10      sentence that starts with "Distributors are,
     11      of course."
     12                       Do you see that in the middle
     13      of the paragraph?
     14              A.       Third paragraph?        Yes, I see
     15      that now.
     16              Q.       All right.      It says:
     17      Distributors are, of course, one of the key
     18      components of the distribution chain.              If the
     19      closed system is to function properly as
     20      Congress envisioned, distributors must be
     21      vigilant in deciding whether a prospective
     22      customer can be trusted to deliver controlled
     23      substances only for lawful purposes.
     24                       Do you see that?
     25              A.       Yes, I see that.

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      1              Q.       Okay.    Do you agree with that
      2      sentence?
      3                       MR. EPPICH:      Object to the
      4              form.    Foundation.
      5              A.       I don't know.
      6      QUESTIONS BY MR. BOGLE:
      7              Q.       You don't have an opinion one
      8      way or the other whether that's an accurate
      9      statement?
     10              A.       No, I don't.
     11              Q.       Okay.    Do you have any opinion
     12      as to whether McKesson should have at all
     13      times been vigilant in deciding which
     14      customers got controlled substances from
     15      them?
     16                       MR. EPPICH:      Object to the
     17              form.
     18              A.       I don't know.
     19      QUESTIONS BY MR. BOGLE:
     20              Q.       Okay.    And it says -- it goes
     21      on:   This responsibility is critical, as
     22      Congress has expressly declared that the
     23      illegal distribution of controlled substances
     24      has a substantial and detrimental effect on
     25      the health and general welfare of the

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      1      American people.
      2                       Do you see that?
      3              A.       Yes, I see that.
      4              Q.       Okay.    Do you agree that
      5      illegal distribution of controlled substances
      6      has a substantial and detrimental effect on
      7      the health and general welfare of the
      8      American people?
      9                       MR. EPPICH:      Object to the
     10              form.    Foundation.
     11              A.       I don't know.
     12      QUESTIONS BY MR. BOGLE:
     13              Q.       Okay.    Is that something you
     14      ever considered while you were at McKesson,
     15      that concept?
     16                       MR. EPPICH:      Object to the
     17              form.
     18              A.       I don't recall.
     19      QUESTIONS BY MR. BOGLE:
     20              Q.       Okay.    Going to the second page
     21      here of the letter, the third paragraph that
     22      starts with "The statutory factors."
     23                       Do you see that?
     24              A.       Yes, I see that.
     25              Q.       It says there:       The statutory

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      1      factors DEA must consider in deciding whether
      2      to revoke a distributor's registration are
      3      set forth in 21 U.S.C. 823(e).            Listed first
      4      among these factors is the duty of
      5      distributors to maintain effective controls
      6      against diversion of controlled substances
      7      into other than legitimate medical,
      8      scientific, and industrial channels.
      9                       Do you see that?
     10              A.       Yes, I see that.
     11              Q.       And you're familiar with that
     12      portion of the regulations, right?
     13                       MR. EPPICH:      Object to the
     14              form.
     15              A.       I don't recall.
     16      QUESTIONS BY MR. BOGLE:
     17              Q.       Okay.    If you go to the next
     18      paragraph, it starts with:           The DEA
     19      regulations require all distributors to
     20      report suspicious orders of controlled
     21      substances.
     22                       Do you see that?
     23              A.       Yes, I see that.
     24              Q.       Okay.    And you understand that
     25      at all times that you were with McKesson that

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      1      the DEA regulations did require distributors
      2      to report suspicious orders of controlled
      3      substances?
      4                       MR. EPPICH:      Object to the
      5              form.    Calls for a legal conclusion.
      6              A.       It was under the CSA.
      7      QUESTIONS BY MR. BOGLE:
      8              Q.       Right.     So you knew that's
      9      something that McKesson was supposed to do
     10      under the CSA, right?
     11                       MR. EPPICH:      Same objections.
     12              A.       Yes, I recall.
     13      QUESTIONS BY MR. BOGLE:
     14              Q.       Okay.    The next paragraph that
     15      starts with "It bears emphasis," do you see
     16      that?
     17              A.       Yes, I see that.
     18              Q.       It says:     It bears emphasis
     19      that the foregoing reporting requirement is
     20      in addition to, and not in lieu of, the
     21      general requirement under 21 U.S.C. 823(e)
     22      that a distributor maintain effective
     23      controls against diversion.
     24                       Do you see that sentence?
     25              A.       Yes, I see that.

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      1              Q.       Were you aware while you were
      2      at McKesson that these were two different
      3      concepts and that there was a reporting
      4      requirement and a separate requirement to
      5      maintain effective controls against
      6      diversion?
      7                       MR. EPPICH:      Object to the
      8              form.    Calls for a legal conclusion.
      9              A.       I don't recall.
     10      QUESTIONS BY MR. BOGLE:
     11              Q.       Okay.    While you were working
     12      at McKesson, did you operate as if there were
     13      two separate requirements, a reporting
     14      requirement and also a requirement to have
     15      effective controls against diversion?
     16                       MR. EPPICH:      Object to the
     17              form.
     18              A.       I don't recall.
     19      QUESTIONS BY MR. BOGLE:
     20              Q.       Okay.    It goes on and says:
     21      Thus, in addition to reporting all suspicious
     22      orders, a distributor has a statutory
     23      responsibility to exercise due diligence to
     24      avoid filling suspicious orders that might be
     25      diverted into other than legitimate medical,

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      1      scientific, and industrial channels.
      2                       Do you see that?
      3              A.       I see that.
      4              Q.       Okay.    And that's referring to
      5      the requirement to block suspicious orders
      6      when they're detected, right?
      7                       MR. EPPICH:      Object to the
      8              form.    Foundation.
      9              A.       I'm not sure.
     10      QUESTIONS BY MR. BOGLE:
     11              Q.       Okay.    What do you think that
     12      refers to, then?
     13              A.       I don't know.
     14              Q.       Okay.    So do you have any
     15      understanding of what that -- what he's
     16      getting at there in that sentence?
     17              A.       I don't know.
     18              Q.       Okay.    Do you recall ever
     19      asking any of your colleagues to help you
     20      understand what Mr. Rannazzisi was saying in
     21      that sentence that I just read?
     22              A.       Not that I recall.
     23              Q.       Okay.    Do you ever recall
     24      reaching out to anyone at the DEA asking them
     25      to explain to you what was meant by the

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      1      sentence I just read?
      2              A.       Not that I recall.
      3              Q.       Okay.    That would have fallen
      4      within your purview, though.           If the DEA's
      5      view is that this is part of McKesson's
      6      responsibilities under the Controlled
      7      Substances Act in 2006 time frame, that would
      8      have been within your purview of your
      9      responsibilities, right?
     10                       MR. EPPICH:      Object to the
     11              form.    Assumes facts not in evidence.
     12              A.       I don't recall.
     13      QUESTIONS BY MR. BOGLE:
     14              Q.       Okay.    I think we talked about
     15      earlier in the deposition that compliance
     16      with the Controlled Substances Act would have
     17      been part of your responsibilities in this
     18      time frame, right?
     19              A.       That's correct.
     20              Q.       Okay.    So if the DEA --
     21      Mr. Rannazzisi from the DEA is indicating
     22      here that there's a requirement here, a
     23      regulatory requirement, to avoid filling
     24      suspicious orders of controlled substances,
     25      would that not have fallen within your

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      1      purview to make sure that McKesson complied
      2      with that portion of the regulations?
      3                       MR. EPPICH:      Object to --
      4              object to the form.




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     10      QUESTIONS BY MR. BOGLE:
     11              Q.       Okay.    The next paragraph down
     12      says:    In a similar vein, given the
     13      requirement under Section 823(e) that a
     14      distributor maintain effective controls
     15      against diversion, a distributor may not
     16      simply rely on the fact that the person
     17      placing the suspicious order is a DEA
     18      registrant and turn a blind eye to the
     19      suspicious circumstances.          Again, to maintain
     20      effective controls against diversion as
     21      Section 823(e) requires, the distributor
     22      should exercise due care in confirming the
     23      legitimacy of all orders prior to filling.
     24                       Do you see that?
     25              A.       Yes, I see that.

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      1              Q.       The last sentence I just read
      2      there, what do you understand that to mean?
      3                       MR. EPPICH:      Objection to the
      4              form; foundation.
      5              A.       I'm not sure what it means.
      6      QUESTIONS BY MR. BOGLE:
      7              Q.       Okay.    So while you were
      8      working at McKesson after you read this
      9      letter, you were unclear on what was meant by
     10      that last sentence there about confirming the
     11      legitimacy of all orders prior to filling?
     12                       MR. EPPICH:      Object to the
     13              form.    Misstates prior testimony.
     14              A.       I don't recall what I thought
     15      at that time.
     16      QUESTIONS BY MR. BOGLE:
     17              Q.       Okay.    But as you read it here
     18      today, you're not sure what is meant by that.
     19      Is that true?
     20                       MR. EPPICH:      Same objections.
     21              A.       I don't recall.
     22      QUESTIONS BY MR. BOGLE:
     23              Q.       No.    I'm asking what you think
     24      today.
     25              A.       I don't know.

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      1              Q.       Okay.    You don't have an
      2      opinion about what that means?
      3              A.       No.
      4              Q.       Okay.    But we can agree that
      5      you did perform regulatory compliance,
      6      including for the Controlled Substances Act
      7      for McKesson, all the way up until about two
      8      years ago, right?
      9              A.       That's correct.
     10              Q.       Okay.    And we can also agree
     11      this is a letter that you would have read in
     12      your course of employment at McKesson, right?
     13              A.       That's correct.
     14              Q.       Did you follow up with anyone
     15      at DEA about any of -- anything in this
     16      letter that you were unclear on?
     17              A.       Not that I recall.
     18              Q.       Did you follow up with any of
     19      your colleagues at McKesson about anything in
     20      this letter that you felt you were unclear
     21      on?
     22              A.       I don't recall.




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     11      QUESTIONS BY MR. BOGLE:
     12              Q.       Okay.    Do you recall there
     13      being any meetings with yourself and other
     14      people at the regulatory department at
     15      McKesson to sort of walk through this letter
     16      we're looking at here in Exhibit 3?
     17                       MR. EPPICH:      Object to the
     18              form.
     19              A.       I really don't recall.
     20      QUESTIONS BY MR. BOGLE:




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     19              Q.       Okay.
     20                       MR. EPPICH:      Is this a good
     21              time to take a break?
     22                       MR. BOGLE:      Sure.
     23                       THE VIDEOGRAPHER:        Off the
     24              record at 10:01.
     25                       (Recess taken, 10:01 a.m. to

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      1              10:16 a.m.)
      2                       THE VIDEOGRAPHER:        All right,
      3              stand by.     The time is 10:16, back on
      4              the record.      Beginning of File 2.
      5      QUESTIONS BY MR. BOGLE:
      6              Q.       Mr. Hilliard, I want to go back
      7      just a step here and talk a little bit about
      8      sort of the hierarchy of the regulatory
      9      department while you were at McKesson.               So
     10      let's focus on while you were director of
     11      regulatory affairs, which I think you told me
     12      was roughly 1998 to 2016.
     13                       So during that time frame, as
     14      director of regulatory affairs, who would
     15      have been your superiors in the regulatory
     16      department?
     17              A.       Dan White, and when I started
     18      in '97 to -- again, I don't remember the
     19      exact time frame, a couple of years; and then
     20      Ron Bone.
     21              Q.       What was his title?
     22              A.       SVP, operations.
     23              Q.       And that's senior vice
     24      president?
     25              A.       Yes, correct.

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      1              Q.       All right.      Of operations?
      2              A.       Correct.
      3              Q.       Okay.
      4              A.       Regulatory rolled up under
      5      that.
      6              Q.       Okay.
      7              A.       Don Walker after that.          And
      8      then at some point there, Bruce Russell came
      9      in between us and I reported directly to
     10      Bruce instead of Don.
     11              Q.       Okay.
     12              A.       And then it was back to Don
     13      directly, and then finally to Krista Peck.
     14              Q.       What was her job title?
     15              A.       SVP of regulatory department.
     16      QUESTIONS BY MR. BOGLE:
     17              Q.       Okay.
     18              A.       That's not the exact -- correct
     19      title, but SVP of regulatory.
     20              Q.       And again, when you say "SVP,"
     21      it means senior vice president.
     22              A.       Senior vice president.
     23              Q.       I just want to make sure the
     24      record is clear.        I think I know what you
     25      mean but I want to make sure it's clear.

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      1                       Okay.    Let me ask it to you
      2      this way just so I understand.            So at all
      3      times from 1998 to 2016, would there have
      4      only been one position in the regulatory
      5      department higher than yours on the corporate
      6      ladder?
      7              A.       No, because at the time point
      8      for which I reported to Bruce Russell, he
      9      would have been a VP, and then Bruce would
     10      have reported to Don, so there would have
     11      been one additional level there.
     12              Q.       Okay.    So in what time period
     13      would that have been where there was two
     14      levels above yours?
     15              A.       I would say 2000, early --
     16      first part of the 2000s.          I'm not sure how
     17      far that goes into.
     18              Q.       Okay.
     19              A.       I don't remember when Bruce
     20      retired.
     21              Q.       Okay.
     22              A.       I want to say 2014, he retired,
     23      approximately.
     24              Q.       Okay.    So from this time period
     25      from 1998 to 2016, there were points in time

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      1      where there's one person, one position higher
      2      than yours in the regulatory department, and
      3      some points in time where there's two
      4      positions higher than yours in the regulatory
      5      department.      Am I understanding that right?
      6              A.       That's correct.
      7              Q.       Okay.    So as director of
      8      regulatory affairs, then, from '98 to 2016,
      9      were there positions below yours in the
     10      regulatory department, people that reported
     11      to you?
     12              A.       I had one direct report.
     13              Q.       Okay.    And during what time
     14      period?
     15              A.       Approximately 2013 to 2016.
     16              Q.       Okay.    Who was that?
     17              A.       Cynthia.     My mind is going
     18      blank on her last name.          All she managed was
     19      licensure for our facilities.
     20              Q.       Okay.    All right.      Shifting
     21      gears a little bit, then -- actually, strike
     22      that.
     23                       Again, when we started the
     24      deposition, you listed off quite a few
     25      different areas of responsibility that you

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      1      had over time in the regulatory department.
      2      Did you consider each of the areas that you
      3      had responsibility for to be important areas,
      4      important things to you?
      5                       MR. EPPICH:      Object to the
      6              form.
      7              A.       My job was important to me.
      8      QUESTIONS BY MR. BOGLE:
      9              Q.       Okay.    And did you feel that
     10      you had an important job for McKesson
     11      generally, that you held an important role at
     12      the company?
     13                       MR. EPPICH:      Object to the
     14              form.
     15              A.       In my opinion, I felt worthy
     16      and important to the company.
     17      QUESTIONS BY MR. BOGLE:
     18              Q.       Okay.    I guess my question is a
     19      little different.        Did you feel like your
     20      position itself was an important position to
     21      the company, that it performed important
     22      functions to the company?
     23                       MR. EPPICH:      Object to the
     24              form.
     25              A.       In my opinion, I felt it was

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      1      important.
      2      QUESTIONS BY MR. BOGLE:




     22      QUESTIONS BY MR. BOGLE:
     23              Q.       Okay.    And do you recall the
     24      Lakeland distribution center at all, that it
     25      existed?

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      1              A.       Yes, I do.




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     17              Q.       Okay.    I'm going to hand you
     18      what I'm marking as Exhibit 4, which is
     19      1.1946, and that's MCKMDL00496859.
     20                       There you go, sir.
     21                       (McKesson-Hilliard Exhibit 4
     22              was marked for identification.)
     23      QUESTIONS BY MR. BOGLE:




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      1              Q.       Okay.    And you knew in 2005
      2      that that was part of McKesson's obligations
      3      were to report suspicious orders of
      4      controlled substances when they were -- to
      5      the DEA when they were discovered, right?
      6                       MR. EPPICH:      Object to the
      7              form.    Calls for a legal conclusion.




     12                       MR. BOGLE:      Okay.    Move to
     13              strike as nonresponsive.
     14      QUESTIONS BY MR. BOGLE:
     15              Q.       My question simply was:          You
     16      understood at this point in 2005, by
     17      September 2005, that there was an obligation
     18      for McKesson to report suspicious orders to
     19      the DEA when they were discovered.             True?
     20                       MR. EPPICH:      Object to the
     21              form.    Foundation.
     22              A.       McKesson did report suspicious
     23      orders to the DEA.
     24      QUESTIONS BY MR. BOGLE:
     25              Q.       Okay.

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      1                       MR. BOGLE:      Move to strike as
      2              nonresponsive.
      3      QUESTIONS BY MR. BOGLE:
      4              Q.       My question was simply:          You
      5      did have an understanding as of 2005 that
      6      there was an obligation for McKesson to
      7      report suspicious orders to the DEA when they
      8      were discovered.        True?
      9                       MR. EPPICH:      Object to the
     10              form; calls for a legal conclusion,
     11              asked and answered.
     12              A.       We submitted the reports to the
     13      DEA for the controlled substance suspicious
     14      order reports.
     15      QUESTIONS BY MR. BOGLE:
     16              Q.       Okay.    And why would you do
     17      that, then?
     18              A.       That was the agreed reporting
     19      mechanism for the suspicious order that was
     20      created from the Suspicious Order Task Force
     21      that DEA had agreed was the methodology.
     22              Q.       What time period are you
     23      referring to?
     24              A.       Approximately '95.
     25              Q.       Okay.    So before you were with

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      1      the company.
      2              A.       That's correct.
      3              Q.       Okay.    So you were not a member
      4      of any such task force, right?
      5              A.       That's correct.
      6              Q.       Okay.    And so anything that you
      7      would know about the task force came to you
      8      from somebody other than yourself, right?
      9      You don't have any firsthand knowledge of
     10      that.
     11                       MR. EPPICH:      Object to the
     12              form.
     13      QUESTIONS BY MR. BOGLE:
     14              Q.       True?
     15              A.       I was not there.
     16              Q.       Right.     So you don't have any
     17      firsthand knowledge of it, true?
     18                       MR. EPPICH:      Object to the
     19              form.
     20              A.       I was not at the meeting.
     21      QUESTIONS BY MR. BOGLE:
     22              Q.       Okay.    So therefore you could
     23      not have any firsthand knowledge, right?
     24                       MR. EPPICH:      Object to the
     25              form.

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      1              A.       I was not -- I did not attend
      2      the meeting of the task force.
      3      QUESTIONS BY MR. BOGLE:
      4              Q.       Okay.    Do you know of anyone
      5      from McKesson that did?
      6              A.       I don't recall.
      7              Q.       Okay.    Did you keep any written
      8      documentation from the DEA that would have
      9      come from this task force you're referencing
     10      that says, you know, the DEA -- this is our
     11      stamp of approval that this is the mechanism
     12      that we approved to report suspicious orders?
     13                       MR. EPPICH:      Objection --
     14      QUESTIONS BY MR. BOGLE:
     15              Q.       Did you keep a file like that?
     16                       MR. EPPICH:      Object to the
     17              form.
     18              A.       I don't recall if there was a
     19      form associated with the outcome of that
     20      meeting.
     21      QUESTIONS BY MR. BOGLE:
     22              Q.       Okay.    I'm just asking if you
     23      had any sort of documentation that you kept
     24      for yourself to make sure that you felt
     25      comfortable that that was the proper

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      1      reporting mechanism.
      2                       MR. EPPICH:      Object to the
      3              form.    Vague.
      4              A.       Through my career, whenever I
      5      had information from the DEA, then I would
      6      maintain copies of it.
      7      QUESTIONS BY MR. BOGLE:
      8              Q.       Okay.    So if you had any
      9      correspondence from the DEA that said that
     10      this was a reporting mechanism they signed
     11      off on, you would have kept that, right?
     12                       MR. EPPICH:      Object to the
     13              form.
     14              A.       I wasn't at the meeting, so I
     15      don't have -- I didn't have any documentation
     16      on that, I don't recall having documentation
     17      on that.
     18                       But as I said, throughout the
     19      course of my career, if I did receive some
     20      type of letter, like an extension to DEA
     21      registrations, then we would maintain that
     22      letter.
     23      QUESTIONS BY MR. BOGLE:
     24              Q.       So let's go to page .10 then.



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       7     QUESTIONS BY MR. BOGLE:
       8              Q.       You would agree with me that
       9     the primary responsibility for investigating
      10     suspicious orders or suspicious customers or
      11     suspicious activity for a customer falls on
      12     McKesson, right?         For any product it's
      13     selling.
      14                       MR. EPPICH:       Object to the
      15              form; foundation.        Calls for a legal
      16              conclusion.
      17              A.       Okay.    Restate the question.
      18     QUESTIONS BY MR. BOGLE:
      19              Q.       Sure.
      20                       You would agree the primary
      21     responsibility for investigating suspicious
      22     orders or suspicious activity of a customer
      23     of McKesson's falls primarily on McKesson,
      24     right?
      25                       MR. EPPICH:       Object to the

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       1              form.    Foundation.       Calls for a legal
       2              conclusion.
       3              A.       I'm not sure.
       4     QUESTIONS BY MR. BOGLE:
       5              Q.       Okay.    Is that not the way that
       6     you performed your job, with that sort of
       7     belief in mind?
       8                       MR. EPPICH:       Object to the
       9              form.    Foundation.       Calls for a legal
      10              conclusion.
      11              A.       I don't know.
      12     QUESTIONS BY MR. BOGLE:
      13              Q.       You don't know?        Okay.
      14                       So when you came in to work
      15     every day as director of regulatory affairs,
      16     would you or would you not have the mindset
      17     that the primary responsibility to make sure
      18     that we're not putting out suspicious orders
      19     of controlled substances falls on us as
      20     McKesson?
      21                       MR. EPPICH:       Object to the
      22              form.




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       3     QUESTIONS BY MR. BOGLE:
       4              Q.       Yeah, I guess I'm asking the
       5     question a little differently than that,
       6     though.       What I'm asking is:        When you came
       7     to work every day from 1997 to 2016 and were
       8     director of regulatory affairs at McKesson,
       9     with what you've said is an important job,
      10     did you take that job to mean that the
      11     primary responsibility for making sure that
      12     suspicious orders didn't go out to customers
      13     fell on McKesson as opposed to somebody else?
      14                       MR. EPPICH:       Object to the form
      15              to the extent it calls for a legal
      16              conclusion.
      17              A.       I don't recall what I thought
      18     when I walked into the office each day.
      19     QUESTIONS BY MR. BOGLE:
      20              Q.       Okay.    Do you ever recall a day
      21     at work where you sat down and said, "I've
      22     got to make sure, as director of regulatory
      23     affairs, that suspicious orders do not go to
      24     customers from McKesson when it comes to
      25     controlled substances"?

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       1                       MR. EPPICH:       Object to the
       2              form.
       3              A.       I don't recall what I thought
       4     when I sat down each day.
       5     QUESTIONS BY MR. BOGLE:
       6              Q.       Okay.    Any day, that thought
       7     cross your mind that you can think of?
       8                       MR. EPPICH:       Object to the
       9              form; asked and answered.
      10              A.       Not from 10 years ago.
      11     QUESTIONS BY MR. BOGLE:
      12              Q.       What about from two years ago?
      13              A.       I wasn't involved in the DRA
      14     CSMP process at that point in time.
      15              Q.       What about five years ago?
      16                       MR. EPPICH:       Same objections.
      17              Asked and answered.
      18              A.       I don't recall.
      19     QUESTIONS BY MR. BOGLE:




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      10     QUESTIONS BY MR. BOGLE:
      11              Q.       Okay.    I'm going to hand you
      12     what I'm marking as Exhibit 5, which is
      13     1.1789, and that's MCKMDL00496876.
      14                       (McKesson-Hilliard Exhibit 5
      15              was marked for identification.)
      16     QUESTIONS BY MR. BOGLE:




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      18              Q.       Who is Mr. Gilbert?
      19              A.       Outside counsel.
      20              Q.       So he's you guys' lawyer,
      21     right?
      22              A.       Correct.




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       6              Q.       So having a DEA registration
       7     surrendered or having an Order to Show Cause
       8     brought against a distribution center, those
       9     are serious enforcement actions, right?
      10                       MR. EPPICH:       Object to the
      11              form.
      12              A.       They are serious.
      13     QUESTIONS BY MR. BOGLE:




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      16                       MR. BOGLE:      Let me get my
      17              copies here, sorry.         Slight delay.
      18              I'm emptying boxes.
      19                       MR. EPPICH:       I'm going to stand
      20              up for this one.
      21     QUESTIONS BY MR. BOGLE:
      22              Q.       All right.      I'm handing you
      23     what I'm marking as Exhibit 6, which is
      24     1.1943, MCKMDL00496306.
      25                       (McKesson-Hilliard Exhibit 6

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       1              was marked for identification.)
       2     QUESTIONS BY MR. BOGLE:




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      20                       MR. EPPICH:       Hold on.     Hold on.
      21              Let me pause here.         I'd just caution
      22              the witness that if this question is
      23              seeking anything that's any
      24              discussions or conferences with
      25              counsel, that those would be

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       1              privileged discussions and I'd
       2              instruct the witness not to answer.




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      19     QUESTIONS BY MR. BOGLE:
      20              Q.       Okay.    Let's look at
      21     Exhibit 1.1947, which is Exhibit 7 to your
      22     deposition, and that's MCKMDL00497154.
      23                       (McKesson-Hilliard Exhibit 7
      24              was marked for identification.)
      25                                  --oOo--

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       1     QUESTIONS BY MR. BOGLE:




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      13     1.1951, Bates number is MCKMDL00496536.
      14                       THE REPORTER:       10?
      15                       MR. BOGLE:      Did I skip one?
      16              I'm sorry, let me get that number
      17              back.    I may have skipped -- missing
      18              some stickers here.         Oh, I buried it.
      19              Okay.    Sorry.
      20                       (McKesson-Hilliard Exhibit 8
      21              was marked for identification.)
      22     QUESTIONS BY MR. BOGLE:
      23              Q.       So it's actually Exhibit 8 is
      24     Exhibit 1.1951, so correcting the number.
      25     Same document, just correcting the exhibit

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       1     number.




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       2                       MR. EPPICH:       Objection.      I
       3              think that we are now on the edge of
       4              seeking attorney-client
       5              communications.
       6                       MR. BOGLE:      I'm just asking him
       7              whether the communication occurred,
       8              not the substance of it.
       9     QUESTIONS BY MR. BOGLE:




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       9                       MR. EPPICH:       I'm going to
      10              instruct the witness not to answer
      11              that question.       You're treading on
      12              that line again.        You may ask him if
      13              he had a communication with his
      14              counsel about the document.
      15                       MR. BOGLE:      I think that's what
      16              I just asked.
      17                       MR. EPPICH:       No, you stepped
      18              over the line.
      19     QUESTIONS BY MR. BOGLE:




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       9                       MR. EPPICH:       Brandon, let's go
      10              ahead and take a break.
      11                       MR. BOGLE:      Okay.
      12                       THE VIDEOGRAPHER:         Off the
      13              record at 11:34.
      14                       (Recess taken, 11:34 a.m. to
      15              11:45 a.m.)
      16                       THE VIDEOGRAPHER:         All right,
      17              stand by.     The time is 11:45, back on
      18              the record.      Beginning of File 3.
      19     QUESTIONS BY MR. BOGLE:
      20              Q.       All right, Mr. Hilliard, I want
      21     to shift gears to a different topic here with
      22     you.     We talked a little bit earlier just
      23     briefly about the DU45 report.
      24                       Do you recall that discussion
      25     generally?

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       1              A.       Yes.
       2              Q.       Okay.    And also talked a little
       3     bit about Section 55 generally.
       4                       Do you recall that discussion?
       5              A.       Yes.
       6              Q.       Okay.    So Section 55 was the
       7     standard operating procedure that was in
       8     place when you joined McKesson that was meant
       9     to be the Suspicious Order Monitoring Program
      10     for the company.         True?
      11                       MR. EPPICH:       Object to the
      12              form.
      13              A.       There was a section within
      14     Section 55 that contained that type of
      15     information.
      16     QUESTIONS BY MR. BOGLE:
      17              Q.       Okay.    So it was included
      18     within Section 55.         True?
      19              A.       Correct.
      20              Q.       Okay.    I think you told me, I
      21     just want to make sure I understand.                When
      22     you joined the company in 1997, Section 55,
      23     and specifically the components with the
      24     suspicious order monitoring provisions, were
      25     already in place.         True?

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       1              A.       Correct.
       2              Q.       Okay.    And the DU45 was one of
       3     the reports listed in Section 55 that would
       4     be produced and submitted to the DEA,
       5     correct?
       6              A.       That's correct.
       7              Q.       Okay.    I'll take a look at a
       8     few components of Section 55 here.               So I'm
       9     going to hand you what I'm marking as
      10     Exhibit 9, which is 1.1555.             The Bates number
      11     is MCKMDL00346554.
      12                       (McKesson-Hilliard Exhibit 9
      13              was marked for identification.)
      14     QUESTIONS BY MR. BOGLE:
      15              Q.       When I read all those Bates
      16     numbers, you can ignore me.             I'm supposed to
      17     do that, unfortunately.           I won't be asking
      18     you Bates number quizzes, I can promise you
      19     that.
      20              A.       Thank you.
      21              Q.       Okay.    What I've handed you
      22     here is the Drug Operations Manual,
      23     Section 55, dated July 2000, correct?
      24              A.       That is correct.
      25              Q.       Okay.    And again, I think you

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       1     said this, but you're familiar with this
       2     manual, correct?
       3              A.       Yes, I am.
       4              Q.       All right.      Let's go to -- ah
       5     jeez, wrong page number.            Page .29.     Sorry.
       6              A.       I'm sorry, repeat that?
       7              Q.       .29?
       8              A.       .29.
       9              Q.       Yes, sir.
      10                       Okay.    On this page, you see
      11     there's a section (c) titled Daily Controlled
      12     Substance Suspicious Order Warning Report,
      13     and then it's listed a bunch of other stuff,
      14     but including DU45L500.
      15                       Do you see that?
      16              A.       Yes, I see that.
      17              Q.       Okay.    So this section here
      18     talks about the daily version of the DU45
      19     report.       True?
      20              A.       Yes.
      21              Q.       Okay.    And if you go down to
      22     the next paragraph, it says:             The same
      23     factors that are used for the Customer Recap
      24     Variance -- and then it gives a description
      25     of the report -- are also used for the Daily

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       1     Controlled Substance Suspicious Order Warning
       2     Report.
       3                       Then it says:       3X monthly
       4     average for Schedule II and Schedule III
       5     reportables and 8X/monthly averages for
       6     IIIN-V.
       7                       Do you see that?
       8              A.       Yes, I see that.
       9              Q.       Okay.    So I want to break that
      10     down and make sure it's clear on what that
      11     means.     So both for the DU45 reports run
      12     daily and monthly, an order would appear on
      13     the report for any controlled substance
      14     that's in Schedule II or Schedule III if the
      15     order was three times the average for
      16     customers of McKesson for that product.
      17     True?
      18                       MR. EPPICH:       Object to the
      19              form.
      20              A.       It was three times the monthly
      21     average for 12-month sales and it was for
      22     Schedule II and III narcotics.
      23     QUESTIONS BY MR. BOGLE:
      24              Q.       Okay.    So included within that
      25     would be opioids, right?

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       1              A.       Correct.
       2              Q.       Okay.    So you said a 12-month
       3     history, so let's talk about how that worked.
       4     Was it a 12-month same customer history that
       5     this number would be derived from?
       6              A.       Yes, that's correct.
       7              Q.       Okay.    So, for example, you
       8     would look at the 12 months for X pharmacy,
       9     the prior 12 months, and you would do what
      10     with that data to determine how the three
      11     times average would be generated?
      12                       MR. EPPICH:       Object to the
      13              form; foundation.
      14     QUESTIONS BY MR. BOGLE:
      15              Q.       Walk me through that process.
      16              A.       The system is taking 12 months'
      17     worth of sales history based on that item and
      18     then adds a factor of three times, I'm sorry,
      19     three times the average, and if the orders
      20     exceed that threshold then it shows up on the
      21     report.
      22              Q.       Okay.    And so an average is
      23     generated from the prior 12 months.               Does
      24     that roll over every month so it's looking at
      25     a new 12-month period?

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       1                       MR. EPPICH:       Object to the
       2              form.
       3              A.       As I recall, it's a rolling
       4     12-month period.
       5     QUESTIONS BY MR. BOGLE:
       6              Q.       Right.     So we'll walk through
       7     this just to make sure it's clear.               So let's
       8     say, for example, we're in February 2007.
       9     The prior 12 months' data that would be
      10     looked at for February 2007 would be the 12
      11     months prior to that month.             True?
      12              A.       Correct.
      13              Q.       Okay.    So, for example, when
      14     you go to March 2007, that would then include
      15     the February 2007 data and the first month
      16     from the prior 12 months would drop off the
      17     analysis.      True?
      18              A.       I believe that to be correct.
      19              Q.       Okay.    So if a customer's
      20     orders for a given month did not exceed three
      21     times their prior 12-month average, they
      22     would not appear on the DU45 report.                True?
      23              A.       That's correct.
      24              Q.       Okay.    Were there any other
      25     calculations that went into the DU45 report

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       1     other than the prior 12 months' average and
       2     looking at three times that average, if it
       3     hits that, it gets kicked to the report?                 Any
       4     other variables?
       5                       MR. EPPICH:       Object to the
       6              form.
       7              A.       Not to my knowledge.
       8     QUESTIONS BY MR. BOGLE:
       9              Q.       Okay.    All right.       I want to
      10     look at a DU45 report that was produced to
      11     us.    You may want to keep this exhibit kind
      12     of just near you, but I want to look at a
      13     sample DU45 with you.
      14                       All right.      I'm going to hand
      15     you what I'm marking as Exhibit 10, which is
      16     1.2100.       Bates number is MCKMDL00660789.
      17                       (McKesson-Hilliard Exhibit 10
      18              was marked for identification.)
      19     QUESTIONS BY MR. BOGLE:
      20              Q.       Here's your version.          I
      21     shouldn't say "version," they're all the
      22     same, but your copy.          It's beefy.
      23                       Okay.    And what I've handed
      24     you, Mr. Hilliard, I'll represent to you was
      25     produced to us as part of this litigation as

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       1     being a DU45 report from -- I believe it's
       2     the Oklahoma City distribution center.                I
       3     think you can determine that on the second
       4     page of the document, that that's the
       5     distribution center this pertains to.                Let me
       6     know if you disagree with that.
       7              A.       Yes.    This does appear to come
       8     from the Oklahoma City distribution center.
       9              Q.       Okay.    And going back to the
      10     first page, this is noted to be a monthly
      11     report that I'm showing you here, right?
      12              A.       That is correct.
      13              Q.       Okay.    And it's dated
      14     April 3rd, 2007.         That's the date on the
      15     first page, right?
      16              A.       That's what's stated on the
      17     first page.
      18              Q.       Okay.    So you obviously have an
      19     understanding and knowledge of DU45 reports.
      20     Is what I'm showing you here consistent with
      21     what a DU45 report would look like, a monthly
      22     report?
      23              A.       Yes.
      24              Q.       Okay.    Now, these would -- so
      25     this would be submitted to the DEA on a

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       1     monthly basis, correct?           This version.
       2              A.       That's correct.
       3                       MR. EPPICH:       Object to the
       4              form.
       5     QUESTIONS BY MR. BOGLE:
       6              Q.       And just looking, for example,
       7     at a few of these pages, I'm looking at the
       8     second page, which is Bates ending 0790,
       9     there's three fentanyl orders listed here for
      10     this customer, right?
      11                       MR. EPPICH:       Objection,
      12              foundation.
      13              A.       Fentanyl is listed here, yes.
      14     QUESTIONS BY MR. BOGLE:
      15              Q.       Okay.    Fentanyl being an opioid
      16     product, right?
      17                       MR. EPPICH:       Objection,
      18              foundation.
      19              A.       Yes, it is.
      20     QUESTIONS BY MR. BOGLE:
      21              Q.       Okay.    And go to the next page,
      22     for example, there's an order listed for this
      23     customer for oxycodone, an oxycodone
      24     combination product, right?
      25              A.       That's what's stated, yes.

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       1              Q.       Okay.    Again, another opioid,
       2     right?
       3              A.       Yes, that's correct.
       4              Q.       Okay.    If you flip over to the
       5     next page, Bates page ending 0792, there are
       6     what I count to be 11 separate orders here
       7     for this customer, again, all for various
       8     opioid products, right?
       9                       MR. EPPICH:       Objection,
      10              foundation.
      11              A.       That is what's listed here.
      12     QUESTIONS BY MR. BOGLE:
      13              Q.       Okay.    And I'm not going
      14     through every page here, but just one more
      15     just to show you.
      16                       Page 0793, for this customer,
      17     there are -- looks like nine different orders
      18     for either hydrocodone or oxycodone listed
      19     here, right?
      20              A.       That is what's listed.
      21              Q.       Okay.    And so what's listed in
      22     this report, for example, at this time
      23     period, April 2007, would have been orders
      24     that were placed by a customer, filled by
      25     McKesson, and then appeared on this report

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       1     thereafter and sent to the DEA, right?
       2                       MR. EPPICH:       Object to the
       3              form.    Calls for speculation.
       4              A.       That would have been the
       5     process.
       6     QUESTIONS BY MR. BOGLE:
       7              Q.       Right.     Because these are all
       8     sales.     This product was provided to the
       9     customers, right?         Everything listed in this
      10     report.
      11                       MR. EPPICH:       Object to the
      12              form, the characterization.
      13              A.       That is my recollection.
      14     QUESTIONS BY MR. BOGLE:
      15              Q.       Right.     So the DU45 report is
      16     listing sales, not just the order prior to
      17     the sale, right?
      18                       MR. EPPICH:       Object to the
      19              form, characterization.
      20              A.       My recollection is it contains
      21     the sales.
      22     QUESTIONS BY MR. BOGLE:
      23              Q.       Right.     And, for example, if
      24     you see on 0793 in the left-hand column,
      25     there's actually invoice numbers and invoice

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       1     dates for each of these, right?
       2              A.       Yes, there is.
       3              Q.       And you invoice at the time of
       4     sale, right?
       5                       MR. EPPICH:       Objection;
       6              foundation, calls for speculation.
       7              A.       I don't recall if it was the
       8     time of sale or date of shipment.
       9     QUESTIONS BY MR. BOGLE:
      10              Q.       Or of shipment, okay.
      11              A.       Shipment date.
      12              Q.       All right.      So, for example,
      13     what we've got here as Exhibit 10 is, I
      14     believe, about 600-plus pages of what
      15     McKesson deemed for this month to be
      16     suspicious Schedule II or Schedule III
      17     controlled substance orders, right?
      18                       MR. EPPICH:       Objection to the
      19              form.
      20              A.       These are what showed up on our
      21     suspicious order report as -- and then
      22     reported to the DEA.
      23     QUESTIONS BY MR. BOGLE:
      24              Q.       Right.     But what the whole
      25     purpose of this was, you're providing 600 --

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       1     in this instance, 600-plus pages to the DEA
       2     for this month of suspicious controlled
       3     substance sales that McKesson had made from
       4     the prior month, right?
       5                       MR. EPPICH:       Objection to the
       6              form and the characterization.
       7              A.       They were submitted for DEA to
       8     review.       The report is titled "suspicious"
       9     but it's orders that need to be reviewed and
      10     they were supplied to DEA for review.
      11     QUESTIONS BY MR. BOGLE:
      12              Q.       Okay.    So let me make sure I
      13     understand that.         So when these reports would
      14     have been submitted to the DEA, it was not
      15     the intent of the regulatory department for
      16     the conclusion to be drawn that McKesson
      17     believed these were suspicious orders.                Is
      18     that true?
      19                       MR. EPPICH:       Object to the
      20              form; calls for speculation.
      21              A.       This was part of the Suspicious
      22     Order Task Force.         This was the format for
      23     which industry came to the conclusion to
      24     provide this information to the DEA and DEA
      25     was good with it.         There was DEA inspections

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       1     that had occurred in our facilities and there
       2     was never an issue with that.             So this is the
       3     format for which the original documentation
       4     was supplied to DEA.
       5                       MR. BOGLE:      I move to strike as
       6              nonresponsive.
       7     QUESTIONS BY MR. BOGLE:
       8              Q.       My question was simply that
       9     during the time that you were with McKesson
      10     in the regulatory department, was it your
      11     understanding that the intent was when a DU45
      12     report like the one we're looking at here was
      13     supplied to the DEA, was that -- was that
      14     intended to or not intended to be what
      15     McKesson deemed to be suspicious orders from
      16     the prior month?
      17                       MR. EPPICH:       Object to the
      18              form.    It calls for speculation; asked
      19              and answered.
      20              A.       Yeah.    Again, it was -- this is
      21     what needed to be reviewed.             This was not
      22     specifically a suspicious order.
      23     QUESTIONS BY MR. BOGLE:
      24              Q.       Okay.    So the view during this
      25     time period when DU45s were used were that

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       1     this is not specifically a suspicious order
       2     report.       Am I understanding you right?
       3                       MR. EPPICH:       Object to the
       4              form.    Misstates prior testimony.
       5     QUESTIONS BY MR. BOGLE:
       6              Q.       If I'm misstating it, let me
       7     know.     I'm trying to understand.
       8              A.       The title was Suspicious Order
       9     Report or Suspicious Purchase Report, but
      10     this -- with the vast quantity of orders that
      11     are conducted on a daily and nightly basis,
      12     this provides a threshold for which to
      13     review.
      14                       And so reviews would be
      15     conducted nightly on the reports and they'd
      16     be flagged and then submitted to the DEA, and
      17     then the report in its entirety would be
      18     provided to the DEA on a monthly basis.                 So
      19     they would have all this information.
      20              Q.       Right.     I'm asking about from
      21     McKesson's perspective, though, not DEA's
      22     perspective.       So from McKesson's perspective
      23     as you understood it in the regulatory
      24     department -- strike that, let me make it
      25     even easier.

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       1                       Your perspective while you were
       2     in the regulatory department when the DU45s
       3     were used, did you understand these reports
       4     to be suspicious order reports from the prior
       5     month?
       6                       MR. EPPICH:       Objection to the
       7              form.    Calls for a legal conclusion.
       8              Asked and answered.
       9              A.       Again, this was a -- an
      10     identifier for review.           This didn't mean that
      11     every order on here was suspicious.
      12     QUESTIONS BY MR. BOGLE:
      13              Q.       Okay.    So I think we talked
      14     about this earlier, but you do understand
      15     that during this time period, 2007, for
      16     example, that the Controlled Substances Act
      17     did require distributors to report suspicious
      18     orders, right?
      19              A.       Correct.




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      12     QUESTIONS BY MR. BOGLE:
      13              Q.       Okay.
      14                       (McKesson-Hilliard Exhibit 11
      15              was marked for identification.)
      16     QUESTIONS BY MR. BOGLE:
      17              Q.       I'm going to hand you what I'm
      18     marking as Exhibit 1.1823, which is
      19     Exhibit 11 to your deposition, and that's




      25              Q.       And you would have been a

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       1     member of HDMA at this point in time, right?
       2              A.       I was a member during this
       3     time.
       4              Q.       Okay.    What does HDMA stand
       5     for?
       6              A.       Healthcare Distribution
       7     Management Association.
       8              Q.       And again, that was y'all's
       9     trade association, right?
      10              A.       That's correct.




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       3              Q.       Okay.    I'll hand you what I'm
       4     marking as Exhibit 12, which is 1.1667, and
       5     that's MCKMDL00510747.
       6                       (McKesson-Hilliard Exhibit 12
       7              was marked for identification.)
       8     QUESTIONS BY MR. BOGLE:
       9              Q.       All right.      And we're going to
      10     walk through from back to front here, but
      11     just starting at the front, you see that top
      12     e-mail there is one that you're copied on,
      13     right?
      14              A.       Yes, I am copied on it.
      15              Q.       And you understand sort of how
      16     e-mails work; once you appear on this e-mail,
      17     the ones prior to it, you would also have
      18     been able to view, right?
      19              A.       Okay.




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       2     QUESTIONS BY MR. BOGLE:
       3              Q.       Yeah.    I'm just asking whether
       4     you agree or disagree that simply reporting
       5     larger-than-usual orders does not meet the
       6     spirit and letter of the suspicious order
       7     reporting regulation.          Agree or disagree?
       8                       MR. EPPICH:       Object to the
       9              form; asked and answered.




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      11     QUESTIONS BY MR. BOGLE:
      12              Q.       Okay.    Well, do you want to
      13     look at the -- I'm happy to give you whatever
      14     time you need to look at the full e-mail
      15     chain.     I'm not trying to take anything out
      16     of context for you here.            Feel free.      Let's
      17     do that.
      18                       Let's take -- take a minute.
      19     It's, I think, seven pages or eight pages --
      20     six pages.       Let me know when you're done
      21     reading the six pages, but that's my question
      22     that I'm going to ask you again.              Let me know
      23     when you're ready.
      24                       (Document review by witness.)
      25              A.       Restate your question.

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       1     QUESTIONS BY MR. BOGLE:




      20                       MR. BOGLE:      Move to strike as
      21              nonresponsive.
      22     QUESTIONS BY MR. BOGLE:
      23              Q.       Let me reask my question
      24     because I think it's very straightforward.
      25                       My question is, simply:           Do you

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       1     agree or disagree that, standing alone,
       2     providing a report that simply lists
       3     larger-than-usual orders does not comply with
       4     the suspicious order reporting requirements
       5     of the Controlled Substances Act?
       6                       MR. EPPICH:       Object to the
       7              form.
       8     QUESTIONS BY MR. BOGLE:
       9              Q.       I'm not asking about additional
      10     stuff.     I'm asking whether you think that
      11     alone is good enough to meet that regulation.
      12     Yes or no?
      13                       MR. EPPICH:       Object to form;
      14              asked and answered, calls for a legal
      15              conclusion.
      16     QUESTIONS BY MR. BOGLE:
      17              Q.       We'll talk about the rest of it
      18     later, I promise you.
      19                       MR. EPPICH:       He's answered this
      20              question three times now.
      21                       MR. BOGLE:      He hasn't come
      22              close.    I mean, I'd love it if he had.
      23                       MR. EPPICH:       You're looking for
      24              a yes-or-no answer.         He's given you
      25              the answer.      It may not be the answer

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       1              you want --
       2                       MR. BOGLE:      He hasn't said yes
       3              or no.
       4                       MR. EPPICH:       -- but he has
       5              answered the question.
       6     QUESTIONS BY MR. BOGLE:
       7              Q.       Listen, here's what we can do.
       8     You can say yes or no and then provide
       9     whatever response thereafter you want.
      10                       MR. EPPICH:       I said you're
      11              looking for a yes-or-no answer but
      12              he's not providing that to you.
      13              That's why you're upset, Brandon.
      14                       MR. BOGLE:      Right, because I
      15              just want him to answer my question.
      16              That does upset me, you're right.
      17              You're right.       That's frustrating.
      18                       MR. EPPICH:       I'll allow him to
      19              answer your question again.
      20     QUESTIONS BY MR. BOGLE:
      21              Q.       Can you just answer -- I mean,
      22     I think it's a very straightforward question.




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       2                       MR. BOGLE:      Okay.     I'm going to
       3              something else, so if you want to take
       4              it now or I can plug along if you
       5              want.
       6                       MR. EPPICH:       That's fine, let's
       7              take a lunch.
       8                       THE VIDEOGRAPHER:         Off the
       9              record at 12:31.
      10                       (Recess taken, 12:31 p.m. to
      11              1:17 p.m.)
      12                       THE VIDEOGRAPHER:         Stand by.
      13              The time is 1:17 p.m.          Back on the
      14              record, beginning of File 4.
      15     QUESTIONS BY MR. BOGLE:




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      16     QUESTIONS BY MR. BOGLE:
      17              Q.       Okay.    And you're aware that
      18     occurred, right?         That a settlement occurred
      19     in 2008?
      20              A.       Yes, I am.
      21              Q.       Okay.    And you're aware that
      22     settlement pertained to allegations from the
      23     DEA that McKesson violated the Controlled
      24     Substances Act in distributing opioids from
      25     several of its distribution centers, right?

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       1              A.       Correct.
       2              Q.       Okay.    Have you seen the
       3     settlement agreement itself?
       4              A.       I have seen it at one time.
       5              Q.       Okay.    All right.       I'm going to
       6     hand you what I'm marking as Exhibit 13,
       7     which is also 1.889, and that's
       8     MCKMDL00337001.
       9                       (McKesson-Hilliard Exhibit 13
      10              was marked for identification.)
      11     QUESTIONS BY MR. BOGLE:
      12              Q.       Here you go, sir.
      13                       Okay.    What I've just handed
      14     you, Mr. Hilliard, as Exhibit 13 is titled at
      15     the top Settlement and Release Agreement and
      16     Administrative Memorandum Agreement dated in
      17     the first paragraph May 2nd, 2008.
      18                       Do you see that?
      19              A.       Yes, I see that.
      20              Q.       Okay.    And do you recognize
      21     this to be the settlement agreement we just
      22     referenced from 2008?
      23              A.       Yes.
      24              Q.       Okay.    And if we'd go
      25     specifically to -- let's see, my page numbers

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       1     are different here.          There's an Appendix B
       2     about halfway through the document that
       3     starts the actual settlement agreement.                 Do
       4     you see where I'm at there?             Sorry, my page
       5     numbers don't match yours on this so I can't
       6     give you a specific number.             I'm sorry, I
       7     would if I could.         For reason -- but that's
       8     what the page looks like right there.
       9                       MR. EPPICH:       I think it's on
      10              Bates 337012.
      11     QUESTIONS BY MR. BOGLE:
      12              Q.       It says Appendix B at the top
      13     left, Settlement Agreement at the top middle.
      14                       See where I'm at?
      15              A.       Found it.
      16              Q.       All right.      So this starts the
      17     actual settlement agreement itself.               So I
      18     want to go to the next page that talks about
      19     the covered conduct in the agreement, which
      20     is number 8 in the middle of the page.
      21                       Do you see where I'm at?
      22              A.       Yes, I do.
      23              Q.       Okay.    And A there says:
      24     Within the District of Maryland:              From
      25     January 2005 through October 2006,

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       1     McKesson-Landover sold approximately
       2     3 million dosage units of hydrocodone to
       3     NewCare Pharmacy in Baltimore, and failed to
       4     report these sales as suspicious orders to
       5     DEA when discovered, as required by and in
       6     violation of -- and then it lists the C.F.R.
       7     and the U.S.C.
       8                       And then it says:         Further,
       9     from August 2006 to February 2007,
      10     McKesson-Landover sold large quantities of
      11     phentermine-based products to Smeeta Pharmacy
      12     in Highland, Maryland, and failed to report
      13     these sales as suspicious orders to DEA when
      14     discovered, as required by and in violation
      15     of -- and again it lists the statutes.
      16                       Do you see where I'm reading
      17     there?
      18              A.       I see that.




      23              Q.       Okay.    Then if you see in
      24     section B, and I wasn't going to read this
      25     whole section but you can look at it here for

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       1     yourself, this talks about the conduct that
       2     we actually covered for the seven
       3     pharmacies -- seven Florida pharmacies that
       4     were handled by the Lakeland distribution
       5     center, right?
       6              A.       Yes.    It's listed here.
       7              Q.       And that's the same conduct we
       8     talked about before, right?             That's what they
       9     discuss here.
      10              A.       Yes.
      11              Q.       Okay.    And then in letter C:
      12     Within the Southern District of Texas, it
      13     says:     From February to September 2007,
      14     McKesson-Conroe sold approximately 2.6
      15     million dosage units of hydrocodone to
      16     Mercury Drive Pharmacy and Maswoswe's
      17     Alternative Pharmacy and failed to report
      18     these sales as suspicious orders to DEA when
      19     discovered, as required by and in violation
      20     of -- and again it lists the statutes.
      21                       You see that there?
      22              A.       I see that.
      23              Q.       And on the next page, it
      24     continues with letters D, E and F.               Letters D
      25     involve allegations of large quantities of

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       1     hydrocodone sent to three Colorado pharmacies
       2     out of the McKesson-Aurora distribution
       3     center from September 2005 to November 2007,
       4     right?
       5              A.       I see that.
       6              Q.       E involves McKesson-Salt Lake
       7     and distribution of 824,000 units of
       8     hydrocodone, oxycodone, fentanyl and
       9     methadone to the Blackfeet Clinic in
      10     Browning, Montana from January 2005 to
      11     October 2007.
      12                       Do you see that?
      13              A.       I see that.
      14              Q.       Okay.    And then finally, there
      15     is, from McKesson-West Sacramento,
      16     allegations of theft or significant loss of
      17     controlled substances on 28 separate
      18     occasions that were not reported timely to
      19     the DEA.
      20                       Do you see that?
      21              A.       I see that.
      22              Q.       Okay.    And you know that for
      23     this covered conduct, there was a fine paid
      24     of $13.25 million by McKesson, right?
      25              A.       Correct.

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      11     QUESTIONS BY MR. BOGLE:
      12              Q.       Okay.    We'll take a look at a
      13     few things related to the LDMP -- you're okay
      14     with me calling it LDMP?
      15              A.       Please.
      16              Q.       Okay.    I think we're talking
      17     about the same thing there.
      18                       All right.      So I'm going to
      19     hand you what I'm marking as Exhibit 1.1830,
      20     which is Exhibit 14 to your deposition, and
      21     that is, for those keeping track of these
      22     things, MCKMDL00403340.
      23                       (McKesson-Hilliard Exhibit 14
      24              was marked for identification.)
      25                                  --oOo--

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       1     QUESTIONS BY MR. BOGLE:
       2              Q.       There's yours, sir, and there's
       3     yours.




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      22              Q.       Okay.    You were actually
      23     involved in auditing the Lifestyle Drug
      24     Monitoring Program in 2007, right?
      25              A.       I don't recall specifically

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       1     what was in the audit at that time, but it's
       2     possible.
       3              Q.       Okay.    And you recall that
       4     during that 2007 audit process, there were
       5     some significant shortcomings found with the
       6     program, right?
       7                       MR. EPPICH:       Objection, form.
       8              A.       I don't recall.
       9                       MR. EPPICH:       Assumes facts not
      10              in evidence.
      11     QUESTIONS BY MR. BOGLE:
      12              Q.       Okay.    I'm going to hand you
      13     what I'm marking as Exhibit 15, which is
      14     1.1887, MCKMDL00591949.
      15                       (McKesson-Hilliard Exhibit 15
      16              was marked for identification.)
      17     QUESTIONS BY MR. BOGLE:




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      20     you Exhibit 1.1913, also marked as
      21     Exhibit 16.
      22                       (McKesson-Hilliard Exhibit 16
      23              was marked for identification.)
      24     QUESTIONS BY MR. BOGLE:



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      12                       MR. LOMBARDO:       Excuse me, does
      13              this exhibit have a Bates number?
      14                       MR. BOGLE:      MCKMDL00591841.
      15     QUESTIONS BY MR. BOGLE:




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       9     QUESTIONS BY MR. BOGLE:
      10              Q.       Okay.    Well, let's take a look
      11     at the SOP itself on this issue, then, so we
      12     can sew that up.         It's 1.1333, Exhibit 17 to
      13     your deposition, which is MCKMDL00330211.
      14                       (McKesson-Hilliard Exhibit 17
      15              was marked for identification.)
      16     QUESTIONS BY MR. BOGLE:




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      21     QUESTIONS BY MR. BOGLE:
      22              Q.       Okay.    And I'm going to hand
      23     you next, then, what I'm marking as
      24     Exhibit 18, which is 1.1918, and that's
      25     MCKMDL00591858.

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       1                       (McKesson-Hilliard Exhibit 18
       2              was marked for identification.)
       3     QUESTIONS BY MR. BOGLE:
       4              Q.       There you go, sir.




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      13     QUESTIONS BY MR. BOGLE:
      14              Q.       All right.      I just want to show
      15     you one more of these audits, which is
      16     Exhibit 1.1917, marked as Exhibit 19 to your
      17     deposition, and that's MCKMDL00591251.
      18                       (McKesson-Hilliard Exhibit 19
      19              was marked for identification.)
      20     QUESTIONS BY MR. BOGLE:




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      20     QUESTIONS BY MR. BOGLE:
      21              Q.       All right.      Let's take a look
      22     at Exhibit 1.2002, which is Exhibit 20 to
      23     your deposition.
      24                       (McKesson-Hilliard Exhibit 20
      25              was marked for identification.)

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       1     QUESTIONS BY MR. BOGLE:
       2              Q.       All right.      And here we've got
       3     a series of e-mails and we're going to walk
       4     through a couple of portions here with you.
       5     This is MCKMDL00622532.




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      12     QUESTIONS BY MR. BOGLE:
      13              Q.       Okay.    Let's take a look at
      14     what I'm marking as Exhibit 21, which is
      15     1.1856, and that's MCKMDL00573535.
      16                       (McKesson-Hilliard Exhibit 21
      17              was marked for identification.)
      18     QUESTIONS BY MR. BOGLE:




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       6              Q.       Okay.    But you're aware that
       7     significant additions to McKesson's
       8     regulatory team did not occur, in fact, until
       9     the 2013-2014 time frame, right?
      10                       MR. EPPICH:       Object to the
      11              form.
      12              A.       There were -- we doubled in
      13     size when the regional DRAs came aboard, so
      14     that was a major change from that aspect.
      15     There were certainly much larger numbers that
      16     came onboard as the department developed.
      17     QUESTIONS BY MR. BOGLE:
      18              Q.       Right.     But we just looked at
      19     this discussion from 2009.            So it wasn't --
      20     after 2009, it wasn't until late 2013, early
      21     2014, that significant additions were made as
      22     far as staffing in the regulatory department
      23     of McKesson, right?
      24                       MR. EPPICH:       Objection to form;
      25              asked and answered.

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       1              A.       I'm not sure exactly on the
       2     dates.     We doubled in size in the 2009 time
       3     frame, and at this point and juncture of 2013
       4     and such, I'm no longer working actively in
       5     the CSMP program.         But there were
       6     additional -- significant additional head
       7     count that was produced to the department.                  I
       8     just don't know exact dates when that
       9     occurred.
      10     QUESTIONS BY MR. BOGLE:
      11              Q.       When you say you doubled in
      12     size in around 2009, that's doubling from
      13     three people to six people, right?
      14              A.       Four more were added, so it's
      15     from three to seven.
      16              Q.       Three to seven people, okay.
      17              A.       Yeah.
      18              Q.       And that's to cover, again,
      19     what is approximately 30 distribution
      20     centers, right?
      21              A.       Correct.
      22              Q.       Okay.    And you're aware of --
      23     well, strike that.




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       3                       MR. EPPICH:       Object to the
       4              form.    Calls for speculation.
       5              A.       I didn't have any control on
       6     the head count in the department.               That would
       7     be our -- Don Walker's position to decide
       8     what type of head counts we needed to cover
       9     the area.      Again, I wasn't assigned to a
      10     region for those processes.
      11     QUESTIONS BY MR. BOGLE:
      12              Q.       Okay.    So additional staffing
      13     wouldn't have been your call.             Is that what
      14     you're saying?
      15              A.       That's correct.
      16              Q.       We touched on this a little
      17     bit, but I want to talk more specifically
      18     about it.      In 2008, following the settlement
      19     we saw with the DEA, the CSMP was
      20     implemented, right?
      21              A.       Correct.




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       6     QUESTIONS BY MR. BOGLE:
       7              Q.       Okay.    But we looked at the
       8     2008 settlement agreement where there were --
       9     there was a $13.25 million fine paid for
      10     conduct related to various distribution
      11     centers for distribution of opioids.
      12                       In your view, after that, was
      13     there not some reason to change the course of
      14     conduct at McKesson as it pertained to
      15     controlled substance distribution?
      16                       MR. EPPICH:       Objection to the
      17              form; calls for speculation.
      18              Foundation.
      19              A.       McKesson, we worked to develop
      20     new and enhanced programs that demonstrates
      21     activity that occurred after that agreement.
      22     QUESTIONS BY MR. BOGLE:
      23              Q.       Okay.    But with the conduct
      24     that we looked at in that settlement
      25     agreement, do you agree or not agree that

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       1     changes needed to be made in the controlled
       2     substance monitoring practices at McKesson?
       3                       MR. EPPICH:       Object to form.
       4              A.       There were changes made.
       5     That's how we came to develop the LDMP and
       6     then developed the more robust CSMP program.
       7     QUESTIONS BY MR. BOGLE:
       8              Q.       And if those changes are going
       9     to be meaningful, then it shouldn't be
      10     business as usual for customers, should it?
      11     It should be more difficult for customers to
      12     get controlled substances, right?
      13                       MR. EPPICH:       Object to the
      14              form.    Vague.
      15              A.       You can work collaboratively
      16     with your customers and not make it painful
      17     for them, so, you know, it's -- business
      18     doesn't have to be painful.             Changing
      19     processes, enhancing programs, working
      20     collaborative with customers, is what was
      21     needed and what we developed and it could
      22     enhance the program.
      23     QUESTIONS BY MR. BOGLE:
      24              Q.       Okay.    So then when the CSMP
      25     was developed, was it your understanding that

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       1     the ultimate goal was to make sure that
       2     customers stayed happy and kept getting the
       3     product that they wanted to get?
       4                       MR. EPPICH:       Object to the
       5              form; vague, misstates prior
       6              testimony.
       7              A.       Obviously that wasn't the
       8     purpose.
       9     QUESTIONS BY MR. BOGLE:
      10              Q.       Okay.    So is it an accurate
      11     statement that the goal was to make sure that
      12     there was no disruption in the business
      13     activities of any McKesson customer?
      14                       MR. EPPICH:       Objection to the
      15              form; misstates prior testimony.
      16              Calls for speculation.
      17              A.       As stated before, there were
      18     customers that we discontinued doing business
      19     with.     So in some cases, customers would be
      20     unhappy.      But that doesn't mean that all
      21     customers are going to get discontinued
      22     business.      They're all going to get reviewed,
      23     and again, it doesn't mean it has to disrupt
      24     the business between the companies.
      25                                  --oOo--

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       1     QUESTIONS BY MR. BOGLE:
       2              Q.       But if it becomes more
       3     difficult for customers to get opioid
       4     products, isn't that justified if you're
       5     facing an epidemic?
       6                       MR. EPPICH:       Objection to the
       7              form.    Vague.     Calls for speculation.
       8              A.       I don't know what that would
       9     affect to the customer.           Just because you're
      10     doing a review and you're knowing your
      11     customer, you're making sure they obtain the
      12     amount of product that they need for
      13     legitimate purposes.          That's not painful for
      14     a customer.
      15     QUESTIONS BY MR. BOGLE:
      16              Q.       Okay.    So it's your testimony,
      17     then, that -- I'm trying to make sure I
      18     understand what you're saying here.               So the
      19     business-as-usual attitude did exist in
      20     creation of the CSMP, right?
      21                       MR. EPPICH:       Objection.
      22     QUESTIONS BY MR. BOGLE:
      23              Q.       Am I understanding you
      24     correctly?
      25                       MR. EPPICH:       Objection, form.

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       1              Misstates prior testimony.
       2              A.       No.    We put together processes
       3     and our functions changed.            We had different
       4     procedures that we had to comply with and
       5     that also meant working with customers.
       6     QUESTIONS BY MR. BOGLE:
       7              Q.       Okay.    I'm handing you what I'm
       8     marking as Exhibit 22 to your deposition,
       9     which is Exhibit 1.1962, and that's
      10     MCKMDL00543610.
      11                       (McKesson-Hilliard Exhibit 22
      12              was marked for identification.)
      13     QUESTIONS BY MR. BOGLE:




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       7     QUESTIONS BY MR. BOGLE:
       8              Q.       Okay.    I'm going to hand you
       9     what I'm marking as Exhibit 23, which is
      10     1.1804, and that's MCKMDL00543971.
      11                       (McKesson-Hilliard Exhibit 23
      12              was marked for identification.)
      13     QUESTIONS BY MR. BOGLE:
      14              Q.       There you go, sir.




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      21                       MR. EPPICH:       Are you at a good
      22              place to take another break?
      23                       MR. BOGLE:      Yeah, I was
      24              actually about to say the same thing.
      25              You read my mind.

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       1                       MR. EPPICH:       Let's go ahead and
       2              go off the record.
       3                       THE VIDEOGRAPHER:         Off the
       4              record at 2:34.
       5                       (Recess taken, 2:34 p.m. to
       6              2:50 p.m.)
       7                       THE VIDEOGRAPHER:         Stand by.
       8              The time is 2:50.        Back on the record,
       9              beginning of File 5.
      10     QUESTIONS BY MR. BOGLE:




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      10              Q.       Okay.    Then if we go back to
      11     Exhibit 3, which is the Rannazzisi letter
      12     from September 27, 2006, you recall
      13     discussing this letter with me earlier today,
      14     right?
      15              A.       Yes, I do.
      16              Q.       Okay.    If we go to the second
      17     page of the letter, there is a paragraph
      18     about three-quarters of the way down that
      19     says, "Thus, in addition to."
      20                       Do you see that?
      21              A.       Yes, I do.
      22              Q.       It says:     Thus, in addition to
      23     reporting all suspicious orders, a
      24     distributor has a statutory responsibility to
      25     exercise due diligence to avoid filling

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       1     suspicious orders that might be diverted into
       2     other than legitimate medical, scientific,
       3     and industrial channels.
       4                       Do you see that?
       5              A.       I see that.
       6              Q.       Okay.    And the next paragraph
       7     down that we read before talks about the
       8     distributor needing to exercise due care in
       9     confirming the legitimacy of orders prior to
      10     filling.
      11                       Do you see that reference in
      12     the last sentence?
      13              A.       Yes, I see that now.
      14              Q.       Okay.    So, again, this letter
      15     from September 27, 2006, you would agree with
      16     me makes clear that the expectation is that
      17     McKesson will be reporting suspicious orders
      18     and not filling them if it deems them
      19     suspicious, right?
      20                       MR. EPPICH:       Object to the
      21              form.    The document speaks for itself.
      22              A.       That's what's stated on here.
      23     QUESTIONS BY MR. BOGLE:
      24              Q.       Okay.    And so the idea, then,
      25     is not to report suspicious sales, because

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       1     you're not supposed to make the sale if the
       2     order is suspicious, right?
       3                       MR. EPPICH:       Object to the
       4              form.    Calls for speculation.
       5              A.       It states "suspicious orders."
       6     QUESTIONS BY MR. BOGLE:
       7              Q.       And not "suspicious sales,"
       8     right?
       9                       MR. EPPICH:       Object to the
      10              form; calls for speculation.
      11              A.       I don't recall seeing "sales"
      12     listed here.
      13     QUESTIONS BY MR. BOGLE:




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      20              Q.       All right.      I'm going to hand
      21     you now what I'm marking as Exhibit 24, which
      22     is 1.1937, and that's MCKMDL00623568.
      23                       (McKesson-Hilliard Exhibit 24
      24              was marked for identification.)
      25                                  --oOo--

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       1     QUESTIONS BY MR. BOGLE:
       2              Q.       I put the sticker at the top so
       3     we don't cover up the writing.              Okay.    This
       4     is a series of e-mails, and again we're going
       5     to kind of work our way earliest in time to
       6     newest -- closest in time.




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      20     QUESTIONS BY MR. BOGLE:
      21              Q.       Okay.    All right.       Let me hand
      22     you what I'm marking as Exhibit 25.               It's
      23     1.1443.       It's also MCKMDL00409453.
      24                       (McKesson-Hilliard Exhibit 25
      25              was marked for identification.)

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       1     QUESTIONS BY MR. BOGLE:




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      20     QUESTIONS BY MR. BOGLE:
      21              Q.       Okay.    I'm going to hand you
      22     now what I'm marking as Exhibit 26, which is
      23     1.1432, and that's MCKMDL00409048.
      24                       (McKesson-Hilliard Exhibit 26
      25              was marked for identification.)

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       1     QUESTIONS BY MR. BOGLE:




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      21     QUESTIONS BY MR. BOGLE:
      22              Q.       Okay.    I'm just asking if you
      23     know one was entered.
      24              A.       Yes, I know that one was
      25     entered.

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       1              Q.       Okay.    Where there was a
       2     $150 million fine assessed?
       3                       MR. EPPICH:       Objection; calls
       4              for speculation.
       5              A.       That was my understanding.
       6     QUESTIONS BY MR. BOGLE:
       7              Q.       Okay.    And do you also
       8     understand that as a part of that settlement
       9     agreement, McKesson accepted responsibility
      10     for failing to report suspicious orders?
      11                       MR. EPPICH:       Objection to the
      12              form; calls for speculation.
      13              A.       No, I'm not aware of that.            I
      14     don't think I was with McKesson when that was
      15     finalized.
      16     QUESTIONS BY MR. BOGLE:




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      19     QUESTIONS BY MR. BOGLE:
      20              Q.       All right.      We'll mark for you
      21     Exhibit 27, which is 1.88.            That's
      22     MCKMDL00355350.        And what I've handed you,
      23     sir, is the Administrative Memorandum
      24     Agreement that accompanied the 2017
      25     settlement between DOJ and McKesson, okay?

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       1              A.       Yes, I have it.
       2              Q.       Okay.    And I want to just point
       3     you to one specific passage here, and it's
       4     on .3.     Number 2 says "Acceptance of
       5     Responsibility."
       6                       Are you with me there?
       7              A.       Yes, I am.
       8              Q.       It says:     On or about
       9     September 27, 2006, February 7, 2007, and
      10     December 27, 2007, DEA's Deputy Assistant
      11     Administrator, Office of Diversion Control,
      12     sent letters to every entity in the United
      13     States that was registered with DEA to
      14     manufacture or distribute controlled
      15     substances, including McKesson.
      16                       Now, the September 27, 2006
      17     letter, that's one that we've actually
      18     reviewed here today, right?
      19              A.       The Rannazzisi?
      20              Q.       Yes, sir.
      21                       MR. EPPICH:       Objection to the
      22              form; foundation.
      23     QUESTIONS BY MR. BOGLE:
      24              Q.       You recall reading that letter
      25     with me?

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       1              A.       The Rannazzisi letter, yes.
       2              Q.       Okay.    And again, that was a
       3     letter that you received, right?
       4                       MR. EPPICH:       Objection to the
       5              form; foundation.
       6              A.       I did receive it at some point,
       7     yes.
       8     QUESTIONS BY MR. BOGLE:
       9              Q.       Okay.    It continues here:         The
      10     DEA Letters contained, among other things,
      11     guidance for the identification and reporting
      12     of suspicious orders to DEA as required by
      13     21 C.F.R. Section 1301.74(b).             McKesson
      14     acknowledges that, at various times during
      15     the time period from January 1, 2009 up
      16     through and including the Effective Date of
      17     this Agreement (the "Covered Time Period"),
      18     it did not identify or report to DEA certain
      19     orders placed by certain pharmacies which
      20     should have been detected by McKesson as
      21     suspicious based on the guidance contained in
      22     the DEA Letters about the requirements set
      23     forth in 21 C.F.R. 1301.74(b) and
      24     21 U.S.C. Section 842(a)(5).
      25                       Do you see that?

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       1              A.       I see that.
       2                       MR. EPPICH:       Objection;
       3              foundation.
       4     QUESTIONS BY MR. BOGLE:




      16     QUESTIONS BY MR. BOGLE:
      17              Q.       Okay.    While you were with
      18     McKesson, did you have a sense -- I mean, you
      19     were there for nearly 20 years.              Did you have
      20     a sense and feeling that McKesson would
      21     accept responsibility for things that it
      22     didn't do?
      23                       MR. EPPICH:       Object to the
      24              form; calls for speculation.
      25              A.       I wasn't part of the agreement

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       1     and I'm not familiar with this document, so I
       2     don't know.
       3     QUESTIONS BY MR. BOGLE:
       4              Q.       I'm not specifically asking you
       5     about the document right now.             I'm saying,
       6     during your 20 years spent at McKesson, do
       7     you have a belief that McKesson would accept
       8     responsibility for things that it didn't do?
       9                       MR. EPPICH:       Object to the
      10              form; calls for speculation.
      11              A.       I don't know.
      12     QUESTIONS BY MR. BOGLE:
      13              Q.       Okay.    And can you think of any
      14     other instance in the 20 years you were at
      15     McKesson where the company paid anything
      16     approaching a $150 million fine for something
      17     it didn't do?
      18                       MR. EPPICH:       Object to the
      19              form; calls for speculation.
      20              A.       I don't know.
      21     QUESTIONS BY MR. BOGLE:
      22              Q.       Can you think of any off the
      23     top of your head?
      24                       MR. EPPICH:       Same objections.
      25              A.       I'm not aware of any.

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       1                       MR. BOGLE:      Okay.     No further
       2              questions for you, sir.
       3                       THE WITNESS:       Thank you.
       4                       MR. EPPICH:       Let's go ahead and
       5              take a break and go off the record.
       6                       THE VIDEOGRAPHER:         Off the
       7              record at 3:25.
       8                       (Recess taken, 3:25 p.m. to
       9              3:46 p.m.)
      10                       THE VIDEOGRAPHER:         All right,
      11              stand by.     The time is 3:46.         Back on
      12              the record.
      13                               EXAMINATION
      14     QUESTIONS BY MR. EPPICH:
      15              Q.       Good afternoon, Mr. Hilliard.
      16     My name is Chris Eppich, and I'm just going
      17     to ask a few questions of you this afternoon.
      18              A.       Okay.
      19              Q.       I know it's been a long day so
      20     I'll keep it pretty short.
      21                       You testified earlier today
      22     that you joined McKesson in 1997.               Is that
      23     right?
      24              A.       That's correct.
      25              Q.       And can you briefly describe

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       1     for us your duties as director of regulatory
       2     affairs from 1997 to, say, 2006?
       3              A.       Well, from '97 to
       4     approximately '98, the title was manager of
       5     regulatory affairs.          Still carried the same
       6     job functions when I went to director of
       7     regulatory affairs.
       8                       I had DEA oversight in regards
       9     to compliance with DEA's Section 55, which
      10     was the operating procedures for all things
      11     DEA, and so that also included the suspicious
      12     order monitoring program within it as well,
      13     which was based on the previous working group
      14     from the Suspicious Order Task Force that
      15     McKesson was involved with prior to my
      16     arrival.      So that product, that result of
      17     that meeting was developed into the
      18     Section 55.
      19                       So I worked with our DC
      20     managers to ensure that they were in
      21     compliance with the Section 55 requirements,
      22     including the suspicious order aspect of it.
      23     I audited them as well and worked with them
      24     with any issues that they may bring to my
      25     attention, and I also worked on the ARCOS

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       1     part of it and training the associates there
       2     at the facilities in theft and loss reports
       3     and sometimes investigations.
       4                       Also, I mentioned the audits, I
       5     conducted the DEA audits as well as other
       6     regulatory audits for the operations.                In
       7     addition to the DEA responsibilities, I also
       8     had responsibilities under the waste
       9     management or environmental aspect of it for
      10     EPA, also for hazardous materials for DOT and
      11     FAA transportation aspects of it; for
      12     registrations, including the DEA
      13     registrations for our facilities, and our
      14     state licensures and state-controlled
      15     substance licensures for our facilities.
      16                       I also worked with FDA
      17     compliance for our facilities as well, and
      18     that carried up to about 2006.




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      15              Q.       Now, I interrupted you when you
      16     were talking about your responsibilities as
      17     the director of regulatory affairs.               What
      18     were your responsibilities between the years
      19     2006 to 2008?
      20              A.       I still had the same
      21     responsibilities, with additional
      22     responsibilities as it related to working
      23     with our DC managers on identified customers
      24     by the DEA and then starting to develop the
      25     LDMP processes and crafting the SOP, which

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       1     then developed into the CSMP.
       2              Q.       So you worked on the
       3     development of the LDMP and then the
       4     development of the CSMP.            Is that right?
       5              A.       Correct.
       6              Q.       Now, that -- and do you recall
       7     when the CSMP was released?
       8              A.       I believe it was 2008.
       9              Q.       Okay.    And after 2008, after
      10     the release of the CSMP, what were your
      11     responsibilities as a director of regulatory
      12     affairs at McKesson?
      13              A.       I still helped to work with the
      14     SOPs, but the regional directors came onboard
      15     and so they managed the correlation with the
      16     DCs, their respective DCs in those regions as
      17     it relates to the CSMP processes and
      18     procedures, and I still continued with --
      19     again, with the normal DEA audits and then
      20     also continued with my other responsibilities
      21     under FDA and HAZMAT and EPA.
      22              Q.       Now, do you recall -- do you
      23     recall who your supervisors were?               Let's go
      24     ahead and take it back in time.              Let's take
      25     it from about 1997 to the 2006 time period.

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       1     Do you recall who your supervisors were?
       2              A.       So when I joined in '97, Dan
       3     White was my boss and he was a VP of
       4     regulatory.       And then after Dan White, I
       5     believe it was Don Walker.            Again, I don't
       6     remember the exact dates.            I believe it was
       7     Don Walker, and then to Ron Bone.               I know I
       8     was reporting to Ron Bone in the 2005-2006
       9     time frame.
      10                       Ron left and then I was
      11     reporting to Bruce and -- Bruce Russell and
      12     Don Walker; and then once Bruce retired, it
      13     was directly to Don Walker.             And then finally
      14     I reported to Krista Peck.
      15              Q.       You testified earlier today
      16     that you were familiar with the Controlled
      17     Substances Act.
      18                       Do you remember that testimony?
      19              A.       Yes, I do.
      20              Q.       Now, during -- and you
      21     testified that you were in the regulatory
      22     affairs department at McKesson from 1997 all
      23     the way to 2016, correct?
      24              A.       That's correct.
      25              Q.       Now, during your time at

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       1     McKesson, are you aware of any changes to the
       2     Controlled Substances Act?
       3              A.       No, I'm not.
       4              Q.       The CSA didn't change at all
       5     during your tenure at McKesson?
       6                       MR. BOGLE:      Object to form.
       7              A.       That's correct.
       8     QUESTIONS BY MR. EPPICH:
       9              Q.       Now, have directives from the
      10     DEA changed over that period?
      11              A.       Yes, they have.
      12              Q.       Can you provide us any examples
      13     of how DEA directives have changed while you
      14     were at McKesson?
      15                       MR. BOGLE:      Object to form.




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       7     QUESTIONS BY MR. EPPICH:
       8              Q.       Mr. Hilliard, are you familiar
       9     with the ARCOS reporting system?
      10              A.       Yes, I am.
      11              Q.       What is the ARCOS reporting
      12     system?
      13              A.       It's a reporting system that's
      14     put in place way past when I started in the
      15     industry, that the DEA runs.             It's run out of
      16     headquarters and it's a reporting system for
      17     manufacturers and distributors.
      18                       So manufacturers and
      19     distributors have to submit essentially all
      20     the raw data for their transactions for
      21     Schedule IIs and Schedule III narcotics, and
      22     this included all the sales receipts,
      23     returns, theft/loss, no activity, if you had
      24     no activity for a registrant during the
      25     month.

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       1                       So it had monthly reporting
       2     requirements for every registrant that's a
       3     manufacturer or distributor.
       4              Q.       So McKesson has to submit its
       5     sales data to the DEA as a part of this ARCOS
       6     reporting requirement?           Is that correct?
       7                       MR. BOGLE:      Object.     Object to
       8              form.
       9              A.       That's correct.
      10     QUESTIONS BY MR. EPPICH:
      11              Q.       And do other distributors have
      12     to similarly report their sales data for
      13     controlled substances to this ARCOS reporting
      14     system?
      15                       MR. BOGLE:      Object to form.
      16              A.       That's correct.
      17     QUESTIONS BY MR. EPPICH:
      18              Q.       Does McKesson have access to
      19     other distributors' data that's reported to
      20     ARCOS?
      21              A.       No, they don't.        We asked for
      22     it.
      23              Q.       Who has access to the ARCOS
      24     reporting data?
      25              A.       Only the DEA.

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       1              Q.       Did McKesson have the ability
       2     to know -- let me strike that.




      17     QUESTIONS BY MR. EPPICH:
      18              Q.       You may recall a few moments
      19     ago Mr. Bogle asked you some questions about
      20     Exhibit 27.       Do you have Exhibit 27 in front
      21     of you?
      22              A.       Yes, I do.
      23              Q.       Now, Exhibit 27 is titled the
      24     Administrative Memorandum of Agreement.
      25                       Do you see that?

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       1              A.       I see it.
       2              Q.       Mr. Bogle had you turn to
       3     page 3 of this document, which is Bates
       4     ending 355352.
       5              A.       I see that.
       6              Q.       Do you remember that, sir?
       7              A.       Yes, I do.
       8              Q.       And he read Section 2,
       9     Acceptance of Responsibility, to you.
      10                       Do you remember that testimony?
      11              A.       Yes, I do.
      12              Q.       Now, about halfway down this
      13     paragraph, the paragraph reads:              McKesson
      14     acknowledges that, at various times during
      15     the period from January 1, 2009, up through
      16     and including the Effective Date of this
      17     Agreement, it did not identify or report to
      18     DEA certain orders placed by certain
      19     pharmacies which should have been detected by
      20     McKesson as suspicious based on the guidance
      21     contained in the DEA Letters and -- about the
      22     requirements set forth in 21 C.F.R.
      23     1307.174(b) and 21 U.S.C. 842(a)(5).
      24                       Do you see that, sir?
      25              A.       Yes, I see it.

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       1              Q.       Now, before your deposition
       2     today, had you ever seen Exhibit 27?
       3              A.       No, I haven't.
       4              Q.       And while you were at McKesson,
       5     did anyone ask you to investigate any of the
       6     pharmacies' alleged activity that's described
       7     in this document for this period January 1,
       8     2009, to the date of this agreement?
       9              A.       No.
      10              Q.       Do you have any knowledge about
      11     the allegations described in Exhibit 27?
      12              A.       Not that I recall.
      13              Q.       If you could turn to
      14     Exhibit 26.       Mr. Bogle introduced Exhibit 26
      15     to you.
      16                       Do you remember that?
      17              A.       Yes, I do.




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       6              Q.       If we could turn to Exhibit 25.
       7     Do you have that one in front of you?
       8              A.       Yes, I do.




      22              Q.       Thank you.
      23                       We mentioned -- you discussed
      24     earlier, testified earlier with Mr. Bogle
      25     about the LDMP and the CSMP program.

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       1                       Do you remember that testimony?
       2              A.       Yes, I do.




      17     QUESTIONS BY MR. EPPICH:
      18              Q.       You talked briefly earlier
      19     about the evolution of the CSMP.
      20                       Do you remember that testimony?
      21              A.       I believe so.




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      17              Q.       Thank you, Mr. Hilliard.
      18                       Mr. Hilliard, you worked at
      19     McKesson for over 20 years.             How would you
      20     describe McKesson's culture in the area of
      21     compliance and regulatory affairs?
      22              A.       I enjoyed working at McKesson
      23     and working with my colleagues.              I know that
      24     myself and my colleagues always worked with
      25     the utmost integrity and always believed in

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       1     what we were doing and strived to do the
       2     right thing, and as they brought new folks in
       3     and I worked with some of them, they too were
       4     on the same page and had the same goals that
       5     we had.
       6              Q.       Thank you, Mr. Hilliard.
       7                       MR. EPPICH:       I have no further
       8              questions.
       9                       MR. BOGLE:      I've just got a few
      10              follow-ups.      It's your call,
      11              Mr. Hilliard.       If you're okay looking
      12              straight ahead, I've probably got like
      13              six or seven questions for you.
      14                       THE WITNESS:       That's fine.
      15                       MR. BOGLE:      If you want me to
      16              move back over there, I really don't
      17              care.
      18                       THE WITNESS:       That's fine.
      19                       MR. BOGLE:      You good?      Okay.
      20              Just -- Chris is going to tell you to
      21              look straight ahead.         Don't look at
      22              me, which is probably easy for you to
      23              do.
      24                       All right.      I'm ready.
      25                                  --oOo--

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       1                          FURTHER EXAMINATION
       2     QUESTIONS BY MR. BOGLE:




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       2     QUESTIONS BY MR. BOGLE:
       3              Q.       Yeah.    So I'm not talking about
       4     the CSA.      I'm talking about, again, what a
       5     good company would do.
       6                       Do you think it would be a bad
       7     thing for McKesson, in an attempt to be a
       8     good corporate citizen, to at all times know
       9     what its customers were doing with the
      10     opioids it was distributing to them?
      11                       MR. EPPICH:       Object to the
      12              form; asked and answered.
      13              A.       We had processes in place to
      14     comply with the CSA, and I can't specifically
      15     speak to everybody in McKesson.
      16     QUESTIONS BY MR. BOGLE:
      17              Q.       Okay.    And I'm not -- okay.
      18     Let me ask it to you this way:              Do you think,
      19     as Gary Hilliard, director of regulatory
      20     affairs for nearly 20 years at McKesson,
      21     that -- is your personal belief that it would
      22     be a bad thing for McKesson to know what its
      23     customers were doing with opioids McKesson
      24     was distributing to them?            What is your
      25     personal opinion?

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       1                       MR. EPPICH:       Object to the
       2              form; asked and answered.
       3              A.       As I say, we believed that we
       4     were doing what was required, and we had
       5     means to investigate and look into our
       6     customers and their business activities.
       7     QUESTIONS BY MR. BOGLE:
       8              Q.       Would it be a bad thing to know
       9     what your customer is doing with the opioids
      10     you're giving them?          That's my question.
      11                       MR. EPPICH:       Objection, form.
      12              Asked and answered.
      13              A.       Our customers were registered
      14     with the DEA.        We serviced our customers that
      15     had DEA registrations and were receiving
      16     prescriptions from DEA-registered physicians.
      17     We believed we were complying with the CSA
      18     requirements.
      19     QUESTIONS BY MR. BOGLE:
      20              Q.       Okay.    So as long as they were
      21     registered with the DEA, that was all you
      22     needed to know about your customer, right?
      23                       MR. EPPICH:       Objection.
      24              Misstates the prior testimony.             Form.
      25              A.       Again, we were doing what we

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       1     believed was correct under the CSA.
       2     QUESTIONS BY MR. BOGLE:
       3              Q.       Which was if they had a
       4     registration, they were good to go, right?
       5                       MR. EPPICH:       Objection to form;
       6              asked and answered.




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      19                       MR. BOGLE:      Okay.     No further
      20              questions.
      21                       MR. EPPICH:       Thank you.
      22                       Before we get off the record,
      23              let me designate the transcript as
      24              highly confidential, and we'll read
      25              and sign.

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       1                       THE REPORTER:       Thank you, sir.
       2                       MR. EPPICH:       Thank you.
       3                       THE VIDEOGRAPHER:         Off the
       4              record at 4:20.
       5                       (Deposition recessed at
       6              4:20 p.m.)
       7                                  --oOo--
       8

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       1                               CERTIFICATE
       2
       3                 I, SUSAN PERRY MILLER, Registered
             Diplomate Reporter, Certified Realtime
       4     Reporter, Certified Court Reporter and Notary
             Public, do hereby certify that prior to the
       5     commencement of the examination, GARY
             HILLIARD was duly sworn by me to testify to
       6     the truth, the whole truth and nothing but
             the truth;
       7                 That pursuant to Rule 30 of the
             Federal Rules of Civil Procedure, signature
       8     of the witness was reserved by the witness or
             other party before the conclusion of the
       9     deposition;
      10                 That the foregoing is a verbatim
             transcript of the testimony as taken
      11     stenographically by and before me at the
             time, place and on the date hereinbefore set
      12     forth, to the best of my ability.
      13                 I DO FURTHER CERTIFY that I am
             neither a relative nor employee nor attorney
      14     nor counsel of any of the parties to this
             action, and that I am neither a relative nor
      15     employee of such attorney or counsel, and
             that I am not financially interested in the
      16     action.
      17
      18
      19              _____________________________
                      Susan Perry Miller
      20              CSR-TX, CCR-LA, CSR-CA-13648
                      Registered Diplomate Reporter
      21              Certified Realtime Reporter
                      Certified Realtime Captioner
      22              NCRA Realtime Systems Administrator
                      Notary Public, State of Texas
      23              My Commission Expires 03/30/2020
      24
                      Dated: 14th of January, 2019
      25

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       1                      ACKNOWLEDGMENT OF DEPONENT
       2
       3
       4                    I, GARY HILLIARD, do hereby
             certify that I have read the foregoing pages
       5     and that the same is a correct transcription
             of the answers given by me to the questions
       6     therein propounded, except for the
             corrections or changes in form or substance,
       7     if any, noted in the attached
             Errata Sheet.
       8
       9
      10
      11
      12     _____________________________________________
               GARY HILLIARD                                     DATE
      13
      14
      15
      16
      17
      18     Subscribed and sworn
             to before me this
      19     _____ day of ______________, 20____.
      20     My commission expires:______________
      21
             ____________________________________
      22     Notary Public
      23
      24
      25

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       1                           __ __ __ __ __ __
       2                                   ERRATA

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       3

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       6     REASON: _____________________________________
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       8     REASON: _____________________________________
       9     ____     ____    _________________________________
      10     REASON: _____________________________________
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      12     REASON: _____________________________________
      13     ____     ____    _________________________________
      14     REASON: _____________________________________
      15     ____     ____    _________________________________
      16     REASON: _____________________________________
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      18     REASON: _____________________________________
      19     ____     ____    _________________________________
      20     REASON: _____________________________________
      21     ____     ____    _________________________________
      22     REASON: _____________________________________
      23     ____     ____    _________________________________
      24     REASON: _____________________________________
      25                           __ __ __ __ __ __

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       1                              LAWYER'S NOTES

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